 

Case 2:09-cv-02291-STA-tmp Document 1-1 Filed 05/08/09 Page 1 of 82 Page|D 4

EXHIBIT “A”

 

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iN THE CIRCUIT CQU§<T cy TEMUSSEE -~ _. _
FGR THE THIRT;ETH IUDICIAL DISTRICT AT MEMPHIS§ § § ]_]:, § j D `

 

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CORNERSTQNE sYSTEMS, :NC., ) A"D§ 93 2999
Piaimiff, § §YCW SUURY ‘SL”LE§K
v. § NO. i’*;;»"»¢ mfg #M`“`?§:z 1 gi "’
cENTURY sURE'rY cOWANY, §
Defendant. §
cOWL.AmT

 

Piaintiff Comerstone Systems, kic. (“Com zrstone” or “Plaintiii”) Submits the following
Comp}aint against Def`endant Century Surety Company (°‘Century” or “Defendant”) and States as

foilows:
PAR']"IES.. JURISDICTION, AND VENUE
l. Cornerstone is a Temzessee corporation conducting business primarily as ,a

property freight broker under authority of the Fed€‘ral Motor Can‘ier Safety Administration, MC

 

#32 1 007.

2. Century, on information and belief,i is an Ohio corporation Conducting business in
Tenncssee. §

3. Jurisdicti<)n and venue in this Court: are proper pursuant to Tezm. Code Ann. § §

1
16~10-191 and 20~2-201, §§ S_eg. Further, Piaintiffis aver that this cause of action Was filed within

one year of the acts of violation of the Tennessee Ci?onsumer Protection Act and, therefore,
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jurisdiction and venue in this Court is proper pursiizmt to Tenn. Code Ami. § 47»18-109(3)_

 

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FACTUAL `BACKGROUND

4. As part of its business operations Plaintift` desired to purchase contingent cargo
liability insurance to cover the risk of loss {including theft) to its shipper customers in the event
the motor carrier insurance of the delivering carrier did not cover the loss for any reason

5. Piaintit`f contacted USI of Tennessee, inc. (‘USI”) and George M. Moreland, IH
(“Moreland”), Det`endant Century’s insurance agents, to inquire and obtain contingent cargo
liability insurance.

6. On or about July l_, 2007, Plaintii"f purchased contingent cargo insurance from
Defendant Century {“Policy”). {§5:_~<:; Exhibit A attached hereto).

7. Oo or about April 16, 2008, a shipment of tequila, which Plaintii`fhad brokered to
a motor carrier, Dolle Services, was partially stolen (“loss”),

8. On or about lilly lo, 2008, Plaintifi` filed a claim for the loss in accordance with
the Policy’s requirements (§_e_e Exhibit B attached hcreto).

9. On information and belief, Century hired W.K. Webster C)verseas Lirnited who
then hired MRC lnvestigations (“MR ”) to investigate the loss. Thc investigative report issued
by MRC is dated September 4, 2008. (§g_e§ Bxhibit C attached hereto).

10. On or about April 30, 2008, Connecticut Distri’outors, owner of the §eight,
submitted a Loss and Daniage Claim against Plaintii`f. Plaintiff paid the claim in the amount of
One Hundred ’l`housand Four Hundred Seventy~eight and 001/100 Dollars ($100,478.00) (_S_§§
Exhibits D and E), and obtained an assigmnent of Connecticut Distiibutors’ rights (_S§§ Exhihit
F).

1 l, On or about Pebruary l{l, 2009, after numerous requests for a copy of the MRC
report, Defendant Century furnished a copy of it to Plaintiff.

12. The MRC investigation indicates that the nature of the loss was theft

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13. On or about Novernber '7, 2008, Det`endant Century denied Plaintift’ s claim
(which Was submitted on lilly 16, 2008), asserting numerous exclusions under the policy (§_e_e
Exhihit G).

14, in Fehruary 2009, USI and Moreland, on behalf of Plaintit`t`, made written demand
on Defendant Century for payment of the claim (§§§ Exhihit H}.

15. On or about February 25, 2009, De:t`endant Century sent a letter to USI denying
the claiml QS_ee Exhibit I).

16, On or about March 3, 2009, Plaintiff’s attorney, Ronald H. Useni, sent a demand
letter to Defendant Century. (_S__e_e Exhibit J).

l7. On or about March lS, 2009, Defendant Century sent a letter / entail to attorney
Usem indicating that the timing of a response may not be made in time to meet the one-year

limitation for action which is provided for in the policy (§_e_e Exhibit K).

 

COUNT ONE
BREACH OF CONTRACT
l8. Cornerstone adopts and incorporates by reference the allegations set forth in
paragraphs l-l 7.
l9. Plaintifr" entered into a contractual agreement With Det`endant Century, the Policy,

Which purportedly covered losses sustained as a result of thet’t.

20. The MRC investigation indicates that the nature of the loss was theft

21. Notwithstanding numerous demands for payment, Det`endant Century has denied
coverage/payment

22. As a result of Defendant Century’s breach of contract, Plaintift` has sustained
damages of One Hundred Thousand Four Hundred Seventy~eight and 00/100 Dollars

($100,478.00), plus interest

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Q_.Q_,`§LNMT..I`LQ
VIOLATION OF TENNESSEE’S CONSUMER PROTECTION ACT
23. Cornerstone adopts and incorporates by reference the allegations set forth in
paragraphs 1~22.
24. This claim is for Violation of the Tennessee Consurner Protection Act of 1977 as
stated in rtennessee Code Annotated §§ 47-18-}01, e_t sg, (hereinatter referred to as the “Act”)

by Defendant_

.25. As a result of the above, inter alia, the Defendant committed one or more unfair or
deceptive acts/practices in violation of the Act, including but not limited to:
A. Creating the false impression that in purchasing the Policy, Plaintiffwculd
have the confidence knowing that its shipments were fully covered in tire event of a loss

sustained as a result of theit;

B. At`tinnatively representing to Plaintifi` that certain exclusions to the Policy
Wan"anted denial of Plaintiff’s clairn, knowing that such exclusions are inapplicable to the loss at
issue in this case; and
C. Unfairly refusing to pay Plaintift’s claim under the Policy even though
Plaintiff filed a claim for the loss in accordance With the Policy’s requirements and the MRC
investigation revealed that the nature of the loss was thei`t, an occurrence covered by the Policy.
26. Defendant’s refusal to pay Plaintift"s claim constitutes an “uni`air or deceptive act
or practice” under the Act.
27. As a direct result of Defendant’s unfair refusal to pay Plaintit`t’ s claim, Defendant
has violated the Act, and Plain,titf has sustained damages of One Hundred Thousand Four
Hundred Seventy~eight and 00/100 Dollars (3100,478.00), plus interestl Plaintifi` is entitled to

recover these damages as well as its reasonable attorney fees and treble damages

 

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PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Comerstone requests the following
relief

1. 'Ihat process be issued and that Defendant be made to appear and answer;

2. That ihe Court award Plaintif`f compensatory damages in the amount of at least
3100,478.00, pins interest for damages incurred through the fling of this Complaint;

3. That the Cou:rt award P]aintiff treble damages pursuant to Tenn. Code Ann. § 47~
18-101, §_t_ _s_§g_.;

4. That the Court award P]aintif`f its reasonable expenses, including attomeys’ fees
and court costs, in bringing this action; and

5. That the Ccurt provide such oiher, further, and additional relief as the Court may

deem just

 

 

By: , _
ms (?354)
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Memphis, Tennessee 38103~2467
Tel: (9{)1) 525-3234

Fax: (901) 524-5419

Afforneysfor Plaz`)zrz_`;j'

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'IN RETURN F¢R THE PA¥MENT DF THE PREMIUM, AND SUBJECT TO'ALL THE TERMS, OF THIS PCL!CY,WE AGREE

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1} ASSURED: in consideration of premium 10 be paid 01 the rates agreed the Assurer does insure roe
named oariy ohown on the Declaraiions (herein called lhe Assured).

21 MTACHM EHT: ihis policy covers ali shipments of goods andlor merchandise and/or propeny
(hereafier referred to as “goodo‘} listed in Ciause 4 made on or arier 12:01 A.lvl_ standard iime et ine
address or ihe blamed Aosured as staied herein and continues until canceled by eiiher perry as per
the cancellation provisions contained elsewhere wiinin ihis policy.

31 Z.DSS FAYEE: i.oos, irany, payable 10 the Assured or order

4) lNTEREST lNSURED: This policy covers all shipments or' lawful goods. 01 every kind and doscripiion
conoisilng principally of ihe items described under interesi insured on tire Declarotions including
similar goods inciden‘rai 10 tire business of ihe nosured1 and including prepaid andfor advanced and!or
guaranin ocean freighi under andlor on deck shipped by or consigned 10 inn Assured andlor ineir
agents and'or oihers, lhle own or 1031 of olners in which they may have an inleresi. Aiso, lo cover all
shipments made for 1110 aooourn carothers which the Assurod may agree or receive 'rnsiruclioos to
insure1 provided such instructions are given prior 10 shipments or prior 10 any known or reponed loss
or damage; but excluding sniprnenis sold or oougnl on 1erms whereby roe Assured is not required to
furnish insorance; pro.rided that nothing in inis clause shali be construed 10 prevenr the Assured from
effeciing insurance hereunder on any shipments in which iney have an irourabie interest lnciuding

_ shipmenlo to any subsidiaries of 1110 Assored irrespeciive of the ierms of sale.

51 GEOGRAPHlCAL LIMITS: Tnis policy covers property while in 1ransii from ports and/or places in 1110
"'"` world to ports and!or places in 1110 world, via any roule, direct or via porls and!or places in any order,
excluding risks of shipment by land and/or air originating and rerminaiing within the oonrinenioi Unirod
5000 (rneaning me fonyeight (48) contiguous sides and the Disiriol oiColumbia) andlor Canada bur
including inrercoasral and coastwise shipments via woier.

 

6} PER§LS: `i'ouching the adventures and perils which inis Assurer is conlenied to bear and lake upon
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and Meriners, and all other like perils, losses and misioriunos inai nerve or shall come to 1110 huri,
detrimenr or damage of the said goods and merchandise, or any pari thereof, excepi as may be
otherwise provided for herein or endorsed noroon.

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OCEAN CARGO POLlC‘(

n rear-rs or= nuisance

 

A. Excepi while 'Gn Decl<“ of an ocean vessel and subject to the terms of an "On Decl<“ Bill ot
l,ading unless otherwise agreed to cover against all risks ot physical loss or damage from any
external cause irrespective ot percentage; but excluding nevertheless those risks excepted
by the Paramounl Warranties, excepting to the extent that such risks are specitically covered
by endorsement

8. Goods shipped ”On Declr“ without the knowledge and consent of the Assured and subject to
the terms and conditions ot an ”Under Deolr' Bill ot lading shall be insured subject to the
"Under Deci<” term s, conditions rates and limit of liability as set forth in this policy

C. Goods shipped in intermodal containers and/or trans and!or lighters aboard ship shall be
insured subject to the ”Under Declr" terms conditions and limit ot liability as set torth in this
policy whether stowed “Under andtor On Declr.

D. Goods while “On Decl<“ ot an Ocean Vessei or while on board any barge lunless barge is
deemed a connecting conveyance} are subject to tireterrns of an "On Der:ir' Bitl ot trading
unless otherwise agreed are covered tree ot particular average unless the vessel andtor craft
be stranded sunk, burnt, on tire or in collision but notwithstanding the foregoing this Assurer
to pay any loss ot or damage to the interest insured which may reasonably be attributed to
collision or contact ot the vessel andlorcralt auditor conveyance with any external substance
tice included) other than water, otto discharge ot cargo at port of distress,' also including

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lettison and/or loss overheard irrespective ot percentage

E. Goods shipped per aircraft and/or mail andlor parcel post are insured to cover against all risks
ot physical loss or damage from any external cause irrespective of percentage; out excluding
nevertheless the risks of war, strikes, riots, seizure detention and other risks excluded by the
l:.C. ll S. (Free ot Capture and Seizure) lnlarranty and the S.R. & C.C. (Strilres, Riots and Civil
Cornrnolions} Warranty in this potir:y, excepting to the extent that such risks are specincaily
covered by endorsement

B} DELAY WARRANI'Y: Warranted tree ot claim tor loss of market or lor loss, damage or deterioration
arising horn delay, whether caused by a peril insured against or otherwise

 

9) LOSS QF USEthHERENT lllCE: This insurance in no case be deemed to cover loss, damage or
expense proximately caused by loss of use or inherent vice or nature of the goods insured

193 LlMil”S OE l.lABlLlTY; The Assurer shall not be liable under this policy for more than the limits
shown under the Foreign Transit t_irnits of liability on the Declarations.

lt the total value at risk exceeds the limit of liability provided by this policyl or any endorsement
attached thereto the Assured shall nevertheless report the full amount al risk lo the Assurer and shall
full premium thereon Ao;eplance of such reports and premium by this Assurer shall not alter or
increase the limit ot liability ot the Assurer lor more than the tull amount of covered loss up to but not
exceeding the applicable limit ot liability

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OCEAN CARGO POLICY

113 BEDUCTIBLE: Each ctaim for loss or damage except General Ayerage andior Sal\rage Charges, the
sum shown on the Declarations be deducted; each Bili of i,aciing separateiy insured

121 A§C_ZLM_L?M Shouid there be an accumulation of interest beyond the limits expressed in this
Policy by reason of any intemg)tion of transit beyond the controi ot the Assured, or by reason of any
casualty or at a transshipping point or on a connecting steamer or conveyance this Poiicy shall cover
for the tuii amount ai risk (but in no event for more than twice the Poiicy l_irnii ot l_iabiiity); provided
notice be given to this Assurer as soon as known to the Assured.

13} CONVEYANCES: This poticy covers all shipments by steamer, vessel, barge air conyeyence, raiicar,
truck andfor tend conveyance and all connecting conveyances including maii andior parcel post,
messengers and couriers

Whereuer the words `Ship,‘ '\Jassei," " Seeworthiness,' 'Shio Owner“ or "Vessei Gwner‘ appear in
this Poiicy they are deemed to include also “Aircratt," “Aimorthiness,' and “Aircratt Owner.“

14) CRAFT Et'C.: including the risk by craft and!or lighter to and front the vessei; each cratt, end!or
lighter to he deemed separately insured The Assured is not to be prejudiced by any agreement
exempting lightermen from liability

 

15) MAR§N_E EXTENS|DN CLAUSE iAprii, 1943}: Notwithstanding anything to the contrary contained in
or endorsed on this Poiicy, it is understood and agreed that the toiiowing terms and conditions apply to
alt shipments supersede and override the Warehouse to Warehouse Cieuse No. 16 and the Deviatioo
Ciause No.tB wherever they are inconsistent therewith and shall apply to atl shipments which become
at risk under this Poiicy.

A. This insurance attaches from the time the goods ieave the warehouse at the piece named in
the Policy, speciat Poiicy, certificate or declaration for the commencement of the transit and
continues until the goods are delivered to the tinai warehouse at the original destination
named in the Poiicy, speciai Poltcy, certificate or declaration or substituted destination as
provided in Clause 15. hereunder

B. This insurance specially covers the goods during;
i. deviation deiay, forced discharge restatement and transshipment

ii. any other variation of the ao\renture arising from the exercise of a liberty granted to
the shipowner or charterer under the contract ot attreightment,

in the event of the exercise of any liberty granted to the Shipowner or charterer under the
contract of affreightment whereby such contract is terminated at a port or place other than the
original destination named the insurance continues untii the goods are sold and dei`rvered at
such port or piece; or, if the goods be not sold but are forwarded to the named destination or
to any other destinationl this insurance continues until the goods have arrived at heat
warehouse as provided in Clause 15. '

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OCEAN CARGO POL|CY

(Clause 15 institth EXTENS}ON CLAUSE {Aprtt, 1943} Continued)

C. lt while this insurance is still in force and before the exoiry of ntteen (15) days from midnight of
the day on which the discharge overside ot the goods hereby insured from the overseas
vessei at the final port of discharge is completed the goods are resold (not being a saie within
the terms ot Clause 15,) and are to be forwarded to a destination other than that covered by
this insurancel the goods are covered hereunder while deposited at such port ot discharge
until again in transit or until the expiry of the aforementioned fifteen (15) days whichever shatl
tirst occur. ita sale is attested etter the expiry of the aforementioned tifteen (15) days white
this insurance is still in force, the protection afforded hereunder shall cease as from the time of
the sale

D. Held covered at a premium to he arrangedl in case of change ot voyage or of any omission or
error in the description of the interest vessei or voyage

E. This insurance strait in no case be deemed to extend to cover toss, damage or expense
proximatety caused by delay or inherent vice or nature of the subject matter insured

F. it is a condition ot this insurance that there strait be no interruption or suspension ot transit
untess due to circumstances beyond the controt ot the Assured.

G. Aii other terms and conditions of the Poiicy not in conflict with the foregoing remain
unchanged it being particularty understood and agreed that the F.C.& S. Clause remains in
tutl torce and effect and that nothing in the foregoing shaii be construed as extending this
insurance to cover any risks otwar or consequences of hostilities

163 WAREHOUSE TO WAREHOUSE CLAUSE: Tnis insurance attaches from the time the goods leave
the warehouse and)‘or store at the place named in the Policy for the commencement ot the transit and
continues during the ordinary course ot the transitl inciuding customary transshipment if any, unfit the
goods are discharged overside from the overseas vessei attire final port. Thereafter the insurance
continues whilst the goods are in transit and/or awaiting transit until detivered to neal warehouse at the
destination named in the Poiicy or until the expiry of the 15 days (or 30 days it the destination to which
the goods are insured is outside the limits of the port) whichever shati nrst occur. Tne time timits
referred to above to be reckoned from midnight of the day on which the discharge riverside of the
goods hereby insured from the overseas vessel is compieted. Hetd covered at a premium to be
arranged in the event of transshipment it any` other than as above and/or in the event ot delay in
excess ct the above time iirnits arising trorn circumstances beyond the control ot the Assured.

ii lS NECESSARY FOR THE ASSURED TO GlVE PROMPT NOTlCE TO TH!S ASSURER WHEN
THEY BECOME AWARE OF AN EVENT FOR Wl~iiCi-i Ti-lEY ARE "HELD COVERED“ UNDER THlS
POL|CY AND THE RiGHT TO SUCH COVER 18 DEPENDENT ON COMPLMNCE WlTH Tl-il$
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OCEAN CARGO POLlCY

‘l?) CONSOLIDATlONiDECDNSGUDATtON: Notrrithstanding anything contained etsewhere herein to
the contrary and subject to the terms of this policy' this insurance is extended to cover the goods
insured hereunder whenever such goods are halted in transit anywhere in the world short oi tinal
destination for the purpose ct consolidation deconsolidaiion, packing, repaciring, containerization
decontainerization, distribution or redistribution for a period not exceeding thirty (30) days after arrival
at premises ot the consolidalors, tmcirers, or warehousemen Held covered in excess ot the above
time at an additionat premium if required

?8) DEVtATiON: This insurance shall not be vitiated by an unintentional error in description ot vessel,
voyage or interest or by deviation overcaniage, change ot voyage transshipment or any other
interruption in the ordinary course ot transit from causes beyond the controi ot the Assured. Any such
error, deviation or other occurrence mentioned above strait be reported to this Assurer as soon as
known to the Assored and additional premium paid if required

 

133 GENERAL AVERAGE: General Auerage and Saluage Charges are payabte in tuil irrespective ot
insured and contributory values, in accordance with United States taws and usage auditor as per
Foreign Staternent auditor as per Yort<~Antwerp Rules tac prescribed in whote or part) it in accordance
with Contract oiAffreithment.

20) tNCHMAREE: This insurance is also covers any toes ot or damage to the goods covered hereunder,
through the bursting ot boiters, breakage of shafts or through any latent detect in the machinery, hull
or appurtenances or trorn faults or errors in the navigation andlor management ot the vessel by the
maeter, otticers, crew, engineers or pilots

21) FARAMOUNT WARRANTIES: The toliowing warranties shatl be paramount and shall not be
moditied or superseded by any other provision inctuded herein or stamped or endorsed hereon untess
such other provision refers specifically to the risks excluded by these Warranties and expressty
assumes said risks;

A. F.C.& S. WAR.RANY`( (FREE OF CAPTURE 81 SElZURE -Apn`i 3, 1980):

NO?WITHSTAND%NG ANYTH|NG HEREiN CONTAiNED TO THE CONTRARY, Tl~iiS
iNSURANCE iS WARRANiED FREE FROMZ

l. capturel seizurel arrest restraint detainrnent, confiscation preemption requisition or
nationalization and the consequences thereof or any attempt thereat, whether in time
of peace or war, and whether iam'ut or otherwise

it. att loss, damage or expense whether in time ot peace or war caused by:

a. any weapon ot war empioying atomic or nuclear fcsion anchor fusion or other
reaction or radioactive active force or matter or

h. any mine or torpecto or other dereiict weapons otwar;

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OCEAN CARGO POL|CY

{Clause 21 PARAMOUNT WARRANTlES Continuedl
tii. atl consequences ot hostilities or wartike operations (whether there be a declaration of

warrior not), but this warranty shall not exclude collision or contaotwith aircraftz or with
rookets or similar missiles tother than weapons of war} or with any fixed or lloating
object {other than a mine or torpedo), strendrng, heavy weather, tire or explosion
unless caused directly land independently ot the nature of the voyage or service
which the vessel concerned or, in the case ofa collisionl any other vessel involved
therein is performing) by a hostile act by or against a belligerent power; and for the
purpose of this warranty, 'power' includes any authority maintaining nevai, military or
air forces in association with a power;

war, civil war, rei.roli.rtionl rebettion, insurrection or civil strife arising theretrorn; from
the consequences of the imposition of martial law, military or usurped power; or
piracy; or any hostile acts by or against a belligerent power

B. S.R.&C.C. WARRANTY (STRlKES, RIOTS, & Ci\{lt._ CGMMOTION$ - Dec. 2, 1993}

NOTWITHSTAND!NG ANYTHlNG HERElN CONTAlNED TO THE CONTRARY, iHlS
iNSURANCE iS WARRANTED FREE FROM l.OSS, DAMAGE OR EXPENSE CAUSED B"r’
OR RESULTING FROM.'

i.

ii.

strikes locked-out woer an, labor disturbances riots, civil commotions. or the acts ot
any person or persons taking part in any such occurrences or disorders;

vandalism, sabotage or malicious act, which shell be deemed also to encompass the
act or acts ot one or more persons whether or not agents of a sovereign power,
carried out for political, terroristio or ideological motives andior purposes and whether
any loss, damage or expense resulting therefrom is accidental or intentional

C. NUCLEAR EXCLUS¥ON (APRiL 1, 1991):

Noh~ithstandmg anything to the contrary herein il is hereby understood and agreed that
this potioy shall not apply to any loss, damage or expense due to or arising out of, whether
directly or indirectly, nuclear reaction radiation or radioactive contamination regardless
ot how it is caused However, subject to all provisions of this polir:y, it this policy is
insures against tire, then direct physical damage to the property insured located within the
United States, or any territory of the United States or Puerto Rico by hre directty caused
by the above excluded perils, is insured provided that the nuclear reaction radintir.>nl or
radioactive contamination was not caused whether directly or inchrectly, by any ot the
perils excluded by the F,C. & S. Warranly of this policy.

Nolhing in this clause shall be construed to cover any loss, damage liability or expense
caused by nuclear reaction, radiation or radioactive contamination arising directly or
indirectly from the tire mentioned above

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OCEAN CARGO POL|CY

D. TERMlMATiON OF TRANSlT:

ii

l. Notvnthstanding any provision to tile contrary contained in this Policy or the Gtauses

referred to therein, ii is agreed that in so far as this Policy covers loss of or damage to
the subject~rnatter insured caused by any terrorist or any person acting from a political
motlve, such cover is conditional upon the subject-matter insured being in lite ordinary
course of transit and, in any event, SHAt.L TERMINATE:

either
l .t As per the transit clauses contained within the Poli<:ya
or

42 on delivery to the Consignee's pr other final warehouse or place of storage at the
destination named herein,

t .3 on delivery to any other warehouse or place ot storage whether prior to or at the
destination named herein which the Assured elect to use either for storage other
titan in the ordinary course of transit or for allocation or distribution

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t.¢l in respect ot marine transits. on the expiry of 60 days after completion of
discharge overside of the goods hereby insured from the oversea vessel at the
final port of dischargec

1.5 in respect of air transits, on the expiry of 30 days after unloading the subject
matter insured from the aircraft at the tinal place otdischarge,

whichever shall first occur.

lt this Policy or lite Clauses referred to therein specifically provide cover for inland or
other further lransits following on from storage or termination as provided for above,
cover will reattactt. and continues during the ordinary course ot that transit
terminating again in accordance with clause t .

E. CHEMlCAL, BlOLOGlCAL, BlD -- CHEMSCAL, ELECTROMAGNEUC WEAPOHS
EXCLUS!ON CLAUSE

in no case shall this insurance cover ioss, damage liability or expense directly or inoirectly
caused by, or contributed to by, or arising from an actual or threatened act involving a
chemical biologieal, bic-chemical or electromagnetic weapon devise agent or material when
used in an intentionally hostile manner

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OCEAN CARGO POLICY

/"\
F. lNSTiTUTE CYBER ATTACK EXCLUSION CLAUSE tCt. 388) 1011 ti'03
t.‘l Subi`ect only to clause t.?_ below, in no case shall this insurance cover loss damage liability
or expense directly or indirectly caused by or contra)utecl to by or arising from the use or
operation as a means for initiating harm, of any computer, computer system, computer
software program, malicious code, computer virus or process or any other electronic system
t.? Where this clause is endorsed on policies covering risks ot war1 civil war, resolutionl
rebellion, insurrection or civil strife arising iheretrom, or any hostile act by or against a
belligerent power or terrorism or any person acting front a political motive Clause lt shall not
operate to exclude losses (which would otherwise be covered) arising from the use of any
computer, computer system or computer software program or any other electronic system in
the launch andfor guidance system and/or r’in`ng mechanism of any weapon or missile
G. &XTENDED RADlDACTWE CONTAM!NATlOM EXCLUSION CLAUSE Wl'i’t'l U.S A.
EN DORSEMENT 1311103)
l . in no case shall this insurance cover loss damage liability or expense directly or indirectly
caused by or contributed to by or arising from
i.l ionizing radiations from or contamination by radioactiirity from any nuclear fuel or from
any nuclear waste or from the combustion ot nuclear fuel
-"" 12 the radioactive toxic explosive or other hazardous or contaminating properties ot any
nuclear installation reactor or other nuclear assembly or nuclear component thereof
‘l.3 any weapon or device employing atomic or nuclear fission and!or fusion or other like
reaction or radoaclive force or matter
t_4 the radioactive toxic, explosive or other hazardous or contaminaiing properties ot any
radioactive matter inc exclusion in this sub clause does not extend to radioactive
isotopac, other than nuclear tuet, when such isotopes are being prepared carried
stored or used for oommeroial, agricultural, rriecl"ical1 scientilic or other similar peaceful
purposes
2. i\iotwithstanoing Paragraph t:
it tire is an insured peril
and
where the subject matter insured is within the U.S.A,, its islands, onshore territories or
possessions f
and
a tire arises directly or indirectly from one Or more of the causes detailed in subclauses i.'l,
12 and t.4 above, any loss or damage arising directly from that tire shall, subject to the
provisions ot this insurance be covered EXCLUDlNG however any loss damage liability or
expense caused by nuctear reaction nuclear radiation or radioactive contamination arising
directly or indirectty from that tire. '
h .

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OCEAN CARGO POLlCY

22) SOUTH AMERlCA: For all shipments to South Arnerlca:

 

A. i\lotwithstanding anything contained elsewhere herein to the contrary tpariicularly the
Warehouse lo Warehouse and ivlarine Exlension Clausoe), the insurance provided hereunder
shall continue to cover the cargo for si)rty~(SO) days ininety (90} days on shipments via the
inagdalena Rtver) after completion of discharge of the overseas vessel at port or destination
or until the goods are delivered to the linalwarehoase at destination1 whichever may rirsl
occurj and shall then terminate

B. The lime limit referred to above to be reckoned from midnight of the day on which the
discharge ot tire overseas vessel is completed

23) Bii_t. OF UtDlNG, ETC. (NEGUGENG§): the Assured is not lo be prejudiced by the presence of the
negligence clause and/or latent defect clause in the Bills ot lading and/or Charler Party andior
contract nl affreightment The seaworthiness ct the vessel and/or craft as between the Assured and
this Assorer is hereby admittedl and this Assurer agrees that in the event unseaworthiness or a
wrongful act or misconduct ot Shipowner, charterer, their agents or servants shall cHrectly or indirectly
cause loss or damage to the goods covered under this Poticy, this Assurer will (subject to the terms ot
average and other conditions ot the Policy) pay to an innocent Assured the reselling loss Witn leave
to sail with or without pilots and to tow and assist vessels or craft in all situations and to be towed

24) MACHiNERY: Wtren the goods covered hereunder include a machine consisting when complete for
sale or use of several parts, then, in case of loss or damage covered by this insurance to any part of
such machine this Assurer shall be liable only for the value of the part lost or damaged or el the
Assored‘s option, for the cost and expense including labor and forwarding charges of replacing or
repairing tire lost or damaged part; but in no event shall this Assurer be liable for more than the
insured value ot the complete machine '

253 SHORE PERli.S: Nohviihslanding any average warranty to the contrary this Policy to cover while on
docks wharvee, quays or elsewhere on shore andlor during land transportation against loss, damage
or expense caused by nre, sprinkler teakage, iignlnlng, cyclone, nurricane, earthquake windstorm,
hail, landslide, voicanic erupiion, tlood, rising water, aircraft objects telling irons aircraft collision
derailment endlor any accident to the conveyance collapse and!or subsidence cl docks wharves,
guay_s and!or structures

263 EXPLOSION: Nonvilhstanding any average warranty to ina contrary this Poiicy to cover loss, damage
or expense resulting from explosion howsoever or wheresoever occurring irrespective to percentage
excluding those risks excepted by the t-`ree of Capture and Seizure and the Stril<es, Riots and Civil
Cornmotione Warranties.

27) FUMlGATlON: ln the event of a conveyance or iocation, being fumigaled and loss or damage to the
Asstrren"s goods results thereirorn, this Assurer agrees to indemnify the Assured for such loss or
damage and the Assured agrees to subrogate to this Assurer any recourse that theAssured may have
for recovery of such tose or damage from others

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OCEAN CARGO POLICY

283 DEL!BERATE D§_MAGE - POLLUHON HAZARD: This policy coversl but only while the goods
insured are on board a waterborne conveyance loss ot or damage to said goods directly caused by
governmental authorities acting for the public welfare to prevent or mitigate a pollution hazard or threat
thereof provided that the accident or occurrence creating the situation which required such
governmental action would have resulted in a recoverable claim under the policy (sttaiect to all ct its
tenns, conditions and warranties) ii the goods insured would~have sustained physical loss or damage
as a threat result ofsoch accident or occurrence

This coverage shall not increase the timils of liability provided tor in Clause tO.

293 DEUBERATE DAMAGE - UNITED STA}`ES!CANADA GUSTOMS SERV|CE'. this insurance also
covers {notwithstanding the Free ot Capture and Seizure warranty contained in this policy} physical
loss or damage to the goods insured arising out et the performance of inspection duties while in the
care, custody or control ct the U.S. or Canadian Customs Senrice or another duly authorized
governmental agency ot the U_S. or Ganada while performing inspection duties for the US or Canadran
Customs Service.

 

39) DEBRlS REMOVAL: this insurance also coversl subject to policy TERMS OF AVERAGE (Ctause 7),
the risk of default or failure ct any carrier or bailee to meet their contractual or legal obligations tor the
removal ct debris of property insured This coverage provides for expenses incurred by the insured
for removal and disposal et the debris of the properly insured by reason ct damage thereto caused by
an insured peril but excluding absolutely

 

"` A. Any expenses incurred in consequence ot or to prevent or mitigate pollution or contaminationl
or any threat or liability lherefor.

B. the cost of removal of cargo from any vessel or connecting craft

tn no case shall the Assurer be liable under this clause for more than 25% ct the insured value
of the damaged property insured or $50,000, whichever is less, any one occurrence

lt is warranted that no expense shall be paid without the written consent ct the Assurer.
31) RELEASED BtLL OF t.ADlNG: Privilege is hereby granted the Assured to ship goods covered by this

' Policy under released or limited Bills ot Lading, shipping receipts or other contracts of affreightment
without prejudice to this insurance; subject to payment of additional ;;irerniurnl it required

 

32) FRAUDULENT BlLLS OF LADtNG: This Policy also covers physical loss or damage through the
acceptance by the Assured and/or their Agenls and/or Shippers of fraudulent Bills of Lao”rng and!or
Shipping Receipts andtor tvtessenger Receipts,

 

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.. . OCEAN CARGO POLlCY

33) USE OF OCEAN CARGO CERTlFlCA`l’ES: Aulhorily is hereby given lhe Assured or duly aulhorized
representative of lhe Assured lo issue the Assurer's Ocean Cargo Cerlilicaies of insurance on lhe
form supplied by the Assurer on any andr'or all shipments insured hereunder, siricliy subjecl lo lhe
terms and conditions of lhis Policy. All Ocean Cargo Cedifir;ales of insurance shalli)e countersigned
by the Assured or a duly aulhorized represeniaiive of the Assured.

The Assured agrees lo furnish a copy of each compleled cerliiicale ic the Assurer as soon siler ils
complelicn as praclical bol nol laler lhan 30 days alter issuance ihe original and duciicaie ponions
cl each spoihd or voided certincales shall he returned lo ihis Ass urer. All unused certificates shall be
immediaiely returned lo the Assurer upon leller requesi ai any lime Upon ierminalion cline F°olicyl all
unused carliiicaies shall be relurned lo the Assurer. Assured shall hold Assurer harmless againsl any
sums Assurer may be caused lo pay and shall defend Assurer againsi any sums Assurer may be
called umn lo pay due in Assured`s improper or unaulhon'zed issuance oi oerlincales.

34} OTHER lNSURA[~lCE: in case ihe goods hereby covered are covered by other insurance lexcepl as
hereinafier provided} lhe loss shall loe collected from the several policies in the order of ihe dale of
lheir ahachmenl, insurance allaohing on lhe same dale ic be deemed simullaneous and lo coniribule
pro raia; provided however, lhaiwhere any tire insurance or any insurance [inciuding fine) taken oul
by any carrier or bailee (olher lhan lhe Assured) is available lo lhe beneficiary of lhis Policy. or would
be so available il ihis insurance did nol exisi, lhen lhis insurance shall be void lo the exieni thai such
olher insurance is or would have been available ll is agreed nevertheless lhal where ihis Assurer is
lhus relieved of liability because of ihe exislence oioiher insurancel this Assurer shall receive and

"" retain lhe premium payable under lhis Policy and, in consideralion lhereoi shall guarantee ihe
solvency of lhe companies and!or undenvnlers who issue such olher insurance and the prompl
colleclion of the loss lhereunder lo ihs same exieni (only} as the Assurer shall have been relieved of
liabiliiy under ihe lenns of lhis clausel bui nol exceeding in any case, lhe amount which would have
been coileclihle under lhis Policy if such olher insurance cid not exist

Nolhing in this clause shall be construed as preveniing ihe Assured from effeciing specific insurance
on property in siorage where permission lo effect such specch insurance is granled elsewhere in lhis
Policy.

35) BOTH TO BLAME: Where goods are shipped under a Conlraci oiAfireighimenl containing the so
called "Bolh lo Blame Coilision Clause,' this Assurer agrees as io all losses covered by this insurance
lo indemnify the Assured for any amount (nol exceean the amount insured under lhis Policv) which
the Assured may he legally bound lo pay lo lhe Shipowner under such clause in the event lhal such
liability is assened, the Assured agrees to nolify ina Assurer, who shall have lhe right al lheir own cost
and expense lo defend the Assured againsi such clairo.

361 NOTlCE OF LOSS: in case of loss or damage lo ihe goods covered hereunder, the Assured shall
reporl io their insurance broker for transmission lo this Assurer, or lo an ageni cl lhis Assurer, if ihere
he one al or near the place where ihs loss occurs or expenses are incurred or, ii lhere he none in the
viciniiy, io ihe nearest Sellling Agenl (refer lo insiruclions in Case of l_oss found al the front seclion of
this policy}, every loss or damage which may become a claim under ihis insurance as soon as
pradicable siler ii becomes known lo ihe Assurecl. ii is agreed lhal claim agents or settling agents

h are lo intervene only for the purpose of ascertaining and reporling lhe nalure, cause and eldenl of ihe
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OCEAN CARGO POLlC`Y

loss or damage and that they shall not be cited in any legal proceedngs. Failure to report loss or
damage promptly and to file such proof oi loss shall invalidate any claim under this polioy. The
Assured andlor Cerlincate Holder agree to be examined under oath ii so requested by the Assurer.

37) CQNSTRUCTWE TOTAL LOSS: tile recovery for a constructive total loss shall be had under this
policy unless:

A. The insured goods andior merchandise and!or property are reasonably abandoned on
account of their actual total loss appearing to be unavoidable or

B. because they cannot be preserved from actual total loss without incurring an expenditure
which, ii incurred The lnsured reasonably beiieves would exceed the expected value of the
goods and!or merchandise andior property

38} PARTIAL LOSS: in all cases ot damage by perils insured against the loss shali, as far as
practicable be ascertained by a separation and a sale or appraisement ot the damaged portion only of
the contents of the packages so damaged and not otherwise The cost and expense ot sorting sound
and damaged goods to be initially borne by the Assured and form part of the claim on the Assurer in
accordance with Clause 40 herein

391 LOSS PA¥MENT: tn case of loss, such loss to be paid not later than {30} days alter proof of loss and
proof ot interest in the goods hereby covered are presented and received by this Assurer, Proofs ol
loss to be authenticated by the agents of this Assurer, if there be one at the place such proofs are
taken

403 CARRIER: Warranted that this insurance shaft not inure directry or indirectly, to the benefit of any
carrier or bailee

41) REFUSED}RETURNED SHlPMENTS: Protrided reported to this Assurer as soon as practicable this
Policy shall cowen subject to original insuring conditions goods rentsed by consignees or which
remain at the risk of the Assured beyond the normal course of transit until disposed ot by the Assured
by_rettrrn to the port of shipment or otherwise at an additionat premium to be agreed in no event shall
this insurance cover after delivery of the goods to the consignee nor shall il inure to the benefit of the
consignee

 

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OCEAN CARGO POLiCY

LANDING WAREHOUSING & FORWARD!NG CHARGES PACKAGES TOTALL‘{ LOST:
Notwiihsianding any average warranty contained herein, ihis Assurer agrees to pay any landing,
warehousierl forwarding or other expenses and/or special charges for which this Poiicy in the absence
of each warranty would be liable as well as any parlial loss arising from transshipment Also to pay the
insured value ot any package or packages which may be totally lost in loading, transshipment or
discharge

 

This insurance is also to pay landing, warehousing, forwarding and special charges as a result of
insolvency or financial deiault of the owners, charterersl managers or operators ot the vessel in no
event, however, shall this insurance cover ii al the lime of loading of the subject matter insured on
board the vessel the Assured is aware or, in the ordinary course of business should be aware that
such insolvency or linancial default could prevent the normal prosecuiion of the voyage

43) SUE AND LABOR: in case of any immineni or actual peril, loss or misionune, il shall be lawful and

necessary lo and ior the Assored, his or their factors servants and assigns, lo sue, labor and travel
tor, in and about the defense safeguard and recovery of the said goods, or any pari thereof without
preiudoe io lhis insurance; nor shall the acts of lhe Assured or the Assurer, in recovering saving and
preserving the goods covered in case of disaster, be considered a waiver or an acoeplance of an
abandonment

44) CONTAINER DEMURRAGE: This policy also covers demurrage charges andfor lale penaltiesl

subject TERN!S OF AVERAGE (Ciause 7), assessed againsi, and paid by, lime insured for laie return
of containers when said containers are retained by the Assured at the instruction of the Assurers for
inspection by an appointed surveyor in investigation of loss or damage recoverable under the policy

45) CONCEALED DAMAGE: Should the opening of any package adler arrival be delayed endless or

damage which can reasonably be shown to have occurred prior to dethrery lo linal destination be
found when packages are eventually opened bul nol later than thirty (30) days after arrival al noel
destinationl such loss shall be adiusted and paid by the Assurer in the same manner as though the
packages had been immediately opened upon arrival provided such loss or damage is otherwise
recoverable under lhe TERMS OF AVERAGE (Ciause 7),

Paci<ages showing externai evidence of damage are lo be opened immediately or coverage provided
herein shall not apply to such packages

in the event that pad<ages of the above mentioned goods are not to be opened within the above

mentioned limil, addriionai lime may be granted at rates to be agreed provided notice be given to the
Assrrrer prior to the expiration ot the lime iinril agreed upon

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OCEAN CARGO POLlCY

48) GONTRGL GF DAMAGED GGGDS: Notwithstanding anything contained herein to the contrary1 in
case of damage to goods covered under this Policy, the Assured is to retain control of all damaged
goods The Assured, hoir»rever,v agrees wherever practicable to recondition and sell such goods after
removal ot all brands and trademarks

Where the disposal or sale or such damaged goods is, in the opinion ct the Assured, detrimental to
their interest (or which they are unable to sell or dispose of under their agreement with any trade

' association}. such damage shall be treated as a constructive total loss and the Assured shall dispose
of the damaged goods to the best advantagel this Assurer being entitled to such proceeds or they
shall be destroyed in the presence ct a representative of this Assurer and the Assured.

4?) DlFFERENCE lN CONDlTlUNS: lt is understood and agreed that on all shipments purchased by the
insured on C.l.F. (Cost, insurance Freight) terms; this policy covers the difference in conditions
between such other insurance and the terms and conditions of insurance provided in this policy for the

property involved

All shipments instead hereunder to be valued at the amount of the sellers insurance but subject
always to the limits of liability provided in this policy

The insured agrees to declare all such shipments to the Assurers and pay premium thereon at rates
listed in the rate schedule

43) llthGRT DU`{Y: This insurance also covers the risk of loss, by reason of perils insured against on
duties imposed on goods covered hereunder, it being understood and agreed however, that when the
risl< upon the goods continues beyond the time attending from the overseas vessel the increased
value consequenlhupon the payment ot such duties shall attach as an additional insurance upon the
goods from the lime such duty is paid or becomes due, to the extent ct the amounts thereof actually
paid or payable

The Assured warrants that on ali risks insured hereunder a separate amount shall be reported
sufficient to cotter the said duly, upon which the rate ot premium shall be an agreed percentage ot the
rate named for the subject goods

The Assured will, in all cases, use reasonable eftorts to obtain abatement or refund of duties paid or
claimed in respect ot goods lost damaged or destroyed lt is further agreed that the Assured shatl,
when the Assurer so etects, surrender the goods to the Custom authorities and recover duties thereon
as provided by law, in which event the claim under this Policy shall be only for a total loss ot the goods
so surrendered and expenses which shall include the expense ot surrendering the merchandise to the
Customs authorities

49) PA¥MENT OF PREM|UM: This Assurer is entitled to premiums at agreed rates on all shipments
reported or not, in respect cl which insurance is provided hereunder, All premiums are to be paid
monthly unless otherwise agreed Willtul failure lo so declare or to pay premiums when due shall (al
the option of the Cornpany) render this l>olicy null and void as and from the date ot such failure

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OCEAN CARGO POLlCY

503 SUBROGATlON: ll is a condition of this insurance that upon payment of any losst the Assurer shall
be subrogated to all rights and claims against third parties arising out ot such loss. lt is a further
condition of this insurance that ifihe Assured or their assigns have entered or shall enter into any
special agreement whereby any carrier, bailee or other third party is released from its contractual
common law or statutory liability ior any loss or have or shall have waived r.:ornpromisedl settled or
otherwise impaired any rights and claims against anyJ carrier, bailee, or third party to which the Assurer
would be subrogated upon payment of a loss without prior agreement or these Assurers and
endorsement hereon, the Assurer shall he free from liability with respect to such toes but its right to
retain or recover the premium shall not be affected

51} SUBROGATlON PROCEEDS' in the event ot subrogation recovery on a loss recovered by the
Assured under this policy where the Assured bore a <:leiductlt>le1 the net subrogation proceeds shall be
paid proportionately between the Assurer and the Assured,

 

52) ERRORS AND Oll’llSSiDNS: `lhie insurance shall not be prejudiced by any unintentional delay or
omission in reporting hereunder or any unintentional error in the amount or the description ci the
interest vessel or voyage or ii the subject matter of the insurance be shipped by another vessel ii
prompt notice be given to the Assurer as soon as said facts become known to the Assured and
additional premium paid if required

§3) SUlT ORAC`HON: hlo suit action, or proceeding against the Assurer lot recovery of any claim shall
be sustained unless commenced within twelve (42) months from the date of the happening of the loss
out ot which the Clairn arises, provided that if such limitation is invalid by the laws ot the state within
which this Policy is issuedl then such suit, action, or proceeding shall be barred unless commenced
within the shortest limit of lime permitted by the laws of such stale

54) lNSPECTlGN OF RECORD$: lt is a ooncilion of this policy that the Assurers may examine and audit
the books and records of the Assured as they relate to this policy at anytime during the policy period
and within twelve (12) months after termination of this policy,

55) BROKERS: lt is a condition of this Policy, and it is hereby agreed that the intermediaryl named in this
Policy, or any substituted intermediary shall be deemed to be exclusively the agents of the Assured
and not ot the Assurer in any and all matters relating to, connected with or affecting this insurance
Any notice given or mailed by or on behalf of the Assurer lo the said broker in connection with or
attesting this insurance or its cancellation shall he deemed lo have been delivered to the assured

553 CANC LLATlON: This policy to be deemed continuous and to cover all property insured as provided
until canceled by either party giving the other thirty (30) days written notice (10 days by the Assurer in

the case of nonpayment of premium} but such cancellation shall not affect any risk on which this
insurance has attached prior to the attentive date ot such cancel lation.

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OCEAN CARGO POL!CY

57} U.S. ECDNDMlC AND TRADE SANCT{ONS CLAUSE: Whenever coverage provided by fills policy

 

would be in violeiion of any U.S. economic or trade sanclioos such es, bui nol limited io, lhose
sanciions adminielered end enforced by the U.S. Treasury Deperimenl’s Omce of Foreign Assels
Corrlrol {“OFAC"}, such coverage Sheil be null end void

Simiiarly, any coverage relating lo or referred lo in any certificates or other evidences of insurance or
any claim that would be in violelion of U.S. economic or frede sanctions as described above shell also
be null and void.

58) SEEPAGE AND POLLUTION EXCLUSION CLAUSE:

 

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This policy excludes claims in reepeci of iiabiliiy incurred by the Assured for direct or indireoi lose
or damage by seepage, pollution or contamination:

a. On or over land or inland waters unless caused by a sudden event or insured on a sudden
and accideniel basis; or

b. Caused by c£sposal or dumping or wasle.
Neverlheless, claims in respect of lhe following shall not be excluded by this clause:
Liabiliiy underi

(‘l) Ollshore Polluiion Liabiiity Agreemeni;

(2} the Ouler Coniinenial She!f tends Act, Federal Weter Qualily improvement )lscrx
Arciic Waiers Polluiion Aoi;

(3) Seepege, poiluiion or contaminelion from or caused by vessele. craft or iiieir
cargoes;

(4) Generel average

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OCEAN CARGD POLlCY

RATiNG SCHEDULE

For goods covered by this policy shipped by regular line metala selfpmpetled surface vessels not less than
1009 tons net register operating in their regular trade and which are classed Al American Rer:ord or
equivalent by a lvtemt)er ot the international Association of Ctassiticatlon Sooieties or which are not over
twenty {20) years of age but excitian however, (a) vessels built for service on the Great l.al<es and (bl
vessels built for military or naval service, (o) vessels built during World War ll finishian rail and/or truck
connections to or from interior points}, and (d) for the carriage ot dry bulk or liquid bulk cargoes, and which
are less than tB years of age, unless otherwise stated are as follows;

Un goods described in Clause 4:

vDii% e)<cl4 wer, based on gross receipts of $175,000,09
$25 per amo~lised Arrtomobilos

$l 6 per auto-Sarnsi<ip Ueed Autornobilos

alcoholic Beyerage Freezlng rates:
330 Rall Car
3150 intermodal Container

Warehouseman’s t_egal liade Ratss:
.4[)% V“irginia Localiorr
.15% Michigarr Looetion

~ import Duty {if applicabte) is 1/3 of the above listed rate by conveyance
» Difference in Condiiion (if applicable) rates are ¢‘l{}% of the above listed rate by conveyance

The above rates are per $100 of insurance and are subject to change on 39 days notice War rates
are subject to change on 48 hour notice

WarfSR&CC Coverage to and within the following locations are to be submitted to the Company for
approval priorto any shipment commencement. Fatlure to secure approval will void coverage for
WarlSR&CC white tn transit to areas listed below: ,

North Korea, lraq, lmn, Syria, Lehanon, Kosovo, Afghanisfan Congo, Rwanda, and Democratic
Republic of flange

Rales other than above or shown as NIA are to be determined by this Assurer at the time of shipment

Atl other terms and conditions of the Or:ean Cargo Polioy and its endorsement amato onchanged,

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DOMESTIC lNTERMEDlARY CONTINGENT LlABlLITY ENDORSEMENT

lois endorsement modines insurance provided under the following

DCEAN CARGO CGVERAGE

in consideration of an additional premium to be paid at rates stated in the Rating Sohedule attached this policy
is extended to cover the legal Eabilily of the Assured lor:

A. 100% interest in all shipments of lawful goods and!or merchandise as described in the
declarations except as hereinafter provided for direct physical loss or damage to the property
of others for Wnlci‘r the lr:\,ssurer;l is held liable or assumes liability prior to any known or
reported loss, in any operating environment the Assured provides services mile in due course
of transit within the territorial limits of the United Stales, Canada and nlexir:o. speci§cally
excluding waterhome shipments except for where such waterborne transportation is incidental
as a connecting oonveyance; unless a superseding statement of territorial limits appears
herealter; and

B. for the contingent liability interest of the Assureci for direct physical loss or damage to the
property of others where the oarrler andfor bailee in whose custody andior under whose
responsibility the goods are at time of loss, do not provide settlement within a reasonable

/-~ lime after presentation of full proof of loss and provided that liability has been estebtished;
and

C. for direct physical loss or damage to the property of others for which the Assured is held liabte,
or has a contingent liability to goods andth merchandise temporarily held in custody of the
Railway Express Compeny or other corner in charge of such carriers “On Hand Department"
awaiting disposition instructions not exceeding 90 days unless endorsed herein, and including
returned andlor refused shipments and

ll for direct physical loss or damage to the properly of others for which the Assured is held liabte,
or has a contingent liability, omasioned by fraud or deceit perpetrated by any person or
persons who may represent themselves as the proper party to receive the property for
shipment or accept it for delivery; and

E. for direct physical loss or damage to the property of others for which the essured is held liabie,
or has a contingent liablity, to nnde shipments within the its geographic limits alter marine
insurance has ceased to attaeh, and export shipments within its geographic limits until laden on
board international transit conveyance or until marine insurance attaches whichever may first
occur", and

F. for direct physical loss or damage to the property of others for which the Assured may be held
liable. or may have a comingerrt liabliity, to equipment of others consisting of transportation
conveyances being semi~l:railers, trailers containers and chassis including special equipment
accessories and mechanical refrigeration units `l’his coverage shall be applicable only as
respects the Assurect's contractual liability and/or legal liability assumed under "tnterchange
Agreemer‘rts.” The insurance under this section shall apply only as excess insurance over any
other valid and collectible insurance available to any party al interest

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Aiso to pay, in the event of loss or damage to property insured lay this Policy, the Assurecl's earned
freight charges not collected from others subject always te the applicable limits of liability and
deductibles as expressed elsewhere in this Policy. The inclusion of freight charges in any payment of
ciaim(s} made to a shipper, consignee or other party making such valid claim shall relieve the Assurer
of any liability 10 also pay such earned freight charges to the Assured. Also to pay ali legal expenses
and costs incurred in defending claims founded or unfounded in respect ofthe insurance provided
herein

LlNllT OF L£ABiLlTY

The Assurer shall be liablel irrespective of values at risk, shall not be liable for more than the amount
shown in the Declaration, any one loss, accident or occurrence for ail coverages combined including
legal costs fees andfor expenses

 

DEDUCT}BLE

Frorn the amount of each claim recoverable hereunder the sum shown on the Declarations shall be
deducted per bill of lading per occurrence

 

EXCLUSIONS
i'his policy does not cover:

A. liability in respect to loss or damage to live animals poultry, eggs, furs and/or garments trimmed
with fur, andior fresh produce;

B. liability for loss of or damage to containers andlor real property except to the extent such may be
cargo andr'or merchandise consolidated and!or mined by the Assurecl;

C. liability in respect to loss er damage to accounts bills deeds currency, evidences r)i debt,
securities documents clra'l».rihgsl letters of credit, notes. valuable papers; jewelry, precious
stones, andlr)r bullion;

D. liability in respect to loss or damage to property shipped by mail;
Liability in respect to loss or damage to paintings. statuary, andlor other works of art;

F. liability in respect to loss or damage to trucks automobiles trailera, chassis, and!er equipment or
appurtenances therein 'i`his exclusion however does not apply to electric automobiles and truck
trailers shipped as freight Addiiionaliy, this exclusion does not apply to used automobiles
however the policy will only cover liability in respect to loss or damage caused by or resulting
from tire, collision upsetfovertum of conveyance and theft or non»delivery.;

G. Liebiiity for loss or damage arising from loss of market consequential loss, damage and!cr
deterioration aris’ng from delay howsoever caused;

H. Liability for loss or damage arising from extremes in temperature and}or atmospheric pressure;

l. Uability for loss or dan'rage arising from gradual deterioration wear and tear, inherent vice, insects
and!or vermin;

..l. liability for loss or damage arising from infidelity. conversion secretlon, misappropriation or other
dishonest acton the part of the Assured, his agents andfor employeesl andfor others to whom the
property has been entrusted carriers for hire excepted;

K. liability for iess or damage arising from piiferage from shippers load and count mmainers and/or
conveyances unless original seal shows evidence oframpering;

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L. tjability for loss or damage arising from unexplained loss, mysterious disappearanca. and!or shortage
upon taking inventory;

lrl. liability for loss or damage arising from the neglect of tire Assured to use all reasonable means to
save andv'or preserve the property of interest at the time of or subsequent to any occurrence giving rise
to loss andfor damage;

N. tjabiiity for loss or damage arising from inadequate packing or improper preparation of cargo by
company loading the trailer andlor container, or from insecure stowage When not Stowed by the carrier.
Suliicient packing andror proper preparation of cargo shall include but not be limited to guide§nes and
rules as established under the Uniform Freight Classi§cation {UFC) 6000 series; the l\lational l'utotor
Freight Council (NMFG) 100 series; Association of Amerlcan Railroads {AAR) 43 Series: and/or other
carrier approved guides or circulars as applicable for the mode of transit;

O. Liabiity for loss or`damage arising from rust. oxidation, discoloration and/or loss or damage
occasioned by water on shipments shipped on llatbed trailers andlor opa n-top containers;

P. Loss of lite or personal lnjuiy, howsoever caused;

Q. liability for loss, damage or expense including legal costs incurred defending a claim founded or
unfounded under the deductible referenced above;

R. Loss or damage to property owned, leased or rented by the Assured;

S. liability for loss or damage that would be covered by the terms and conditions of the standard
Comprel'rensive General liability Polroy as promulgated by the insurance Service Organization (lSO);

T. Liability for loss or damage assumed by the Assured under contract or otbemrise in extension of the
liability imposed upon the Assured bylaw in the absence of contract unless with the express written
r` consent of the Assurer,

U. liability for loss or damage to shipments of property which are specifically excluded from the Tartit, Bill
of t_ading, Wayblll, or Frelghl Receipt ol the carriers with which the Assured has arranged
transportation »

4. CLAIMS AND CLAlMS PROCEDURES

in the event of any occurrence which may result in loss damage and/or expense for which the Assurer
may become liable under this insuranoe, notice thereof shall be given to the Assurer as soon as
practicable and all documents relating to such occurrence shall be forwarded promptly lo the Assurer or
its designated agent, and the assured shall not admit liability without prior written consent of the
Assurer. Whenever required by the Assurer, tire Assured shall cooperate with the Assurer (at the letters
expensa) in all meters Wriich the Assurar may deem necessary in the defense of any claim or suit or
appeal from any judgment in respect of any occurrence as herein before provided ln cases where the
liability cline Assured as aforesaid investigation and!or contested with tire consent of tire Assurer, this
policy shall be liable for and wit also pay in full, costs and expenses paid and incurred in investigation
contesting or settling liabllity. T_his insurance shall be void and of no torce or effect in respect of any
accident or occurrence in the event the Assured interferes in any negotiations of the Assurer for
settlement or in any legal proceeding in respect of any claim for which the Assurer is or may be Bable
under this insurance

 

5_ SUBROGATION

The Assurer shall be subrogated to all the rights which the Assured may have against any other person or

entity, in respect of any claims of payment made under this policy to the extent of su@ payment and the

Assured shall upon the request of the Assurer, execute all documents necessary to secure to the Assurer
,..` such rights

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ACT!GN AGA|NST THE ASSURER

No action shall lie against the Assurer unless the Assured shall have fully complied Wi'tlt all the terms and
conditions ofthis policy, nor until the amount of the Assurecl’s obligation to pay shall have been finally
determined either by judgment against the Assured, the claimantl or the Assurer, nor unless same shall
be commenced within twelve (12) months the final judgment or decree is entered in the litigation against
the Assured, or in case the claim against the Assurer accrues without the entry of evolve (12) months
from the date of the payment of such claim; provided that where such limitation ot time is prohibited by the
laws of the State wherein this policy is issued, then no such suit or action shall be sustainable unless
comnenced thin the shortest limitation of time permitted by the laws of such State.

No claim or demand against the Assurar under this policy shall be assigned to or transferred to a third
party and additionaity, no person, excepting a legally appointed receiver ortho property of the Assured,
shall acquire any rights against the essorer by virtue of this insurance without the expressed consent of
the Assurer.

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in the event of loss recoverable hereunder such loss to be paid within thirty (30} days after presentation
and amptance of satisfactory proof of interest and loss liab§ity.

STRZKES. RlOTS 84 CiVIL COMMGTION (S.R. 8¢ C.C.)

Providing the Assured will not by tire contract of affreightment or othemvise assume liability for loss or
damage caused by or resulting from strikes, lookouts, labor dismrbancee;, riots, civil commotion's or the
areas et any persons taking part in any such occurrence ordisorder, this insurance is extended to cover
contingent liability of the Assured under common or statue law arising out of c£rect physical loss or
damage to the aforesaid cargo caused be strikers, iockedM workman or persons taking part in labor
disturbance or riots or civil commotion as per the SR&CC endorsement attached to this pr:)ll¢:yl

OTHER ZNSURANCE

lt irs expressly agreed that this insurance shall not cover to the extent of any other vatid and ooilectitte
insurance whether prior or subsequent hereto in date, and by momsoever etiocted, directly or indirectly
oovering theseme property, andtor iiabllity, and the Assurer shell be liable for loss of damage only for the
excess value beyond the amount of such other insurance in the event of two or more of this orallch
coverages apply to the same claim the Assurer will not pay more than greater of the actual amount ofthe
loss ortho highest coverage limit applicable to the loss Pennission' rs granted the Assured to purchase
coinsurance or exoess insurance

REPORTS AND PAYM_ENTS OF PREMIUM

On or before the 3C'lh day following the anniversary of this policy` the Assured agrees to submit to
the Assurer, or its Agent, a true report of their total gross receipts accrued during the policy period.
if the total earned premium exceeds the above depos’rt, the Assured agrees to pay additional
premium on the excess amount at the policy rate. such additional premium to become due and
payable to the Assurer immediately upon tire furnishing of the aforesaid report ln the event the
earned premium fails short of the above estin*rr.itex the Assurer agrees to return premium, but no
return premium shall become due or payable until the expiration date of the policy_ it is further
agreed that on each anniversary date there shall become due and payable to the Assurer a new
deposit premium which shall be based on the estimated gross receipts for the ensuing year.

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11. !NSPEST!ON OF RECDRDS
The Assurer shah have the pn`viiege, at any time duling business hours, to inspect the records of the
Assured as respects shipments coming within the terms of wis po§cy.
AN other terms and conditions of this policy remain unchanged
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JO|NT EXCESS LOSS COMMITTEE lNFORMATZON
TECHNOLDGY HAZARDS CLAUSE

This endorsement modifies insurance provided under tire following

MAR|NE GENERAL LlABlLlTY COVERAGE 'PART
PROTECTION AND lNDEMNlTY FORM
EXCESS MAR!NE LlABlLlTY
HULL. FORM
PIERS AND Wl"iARVES COVERAGE
(L`ON'I'F¢U!r{}`l`OFiS17 EQUZPMENT COVERAGE
BDAT DEALER COVE RAGE
MARINA OPERATGR’S LEGAL LlABiLlTY
CHARTERER’S LEGAL LlABii.iT¥

l_osses otherwise recoverable under this policy arising, directly or indirecfly, out of:

i. loss ol, or damage to. or
iii a reduction or alteration in the functionality or operaiion of

~"~` a computer system, hardware program software data, information repository.
microchip, integrated circuit or similar device in or connected with compofer equipmenf
or non-computer equipmem, whelher the property of the insured or not,
shall nor be aggregated
if such losses are caused directly by one or more of lhe iollowing physical perils, namely
theft of equipmem, collision, sinkingl grounding or stranding of carrying vessel,
overturning or derailment of land conveyance jeltison or washing overboard, Ere,
lightning, explosion aircraft cr vehicle lm;;)ac:’rl falling objeots, windston'n, hail, tornado,
cyclone, hurrimrre, earthquake volcarro, tsunami, flood, freeze or weight of snow,

then this clause shall not prevent the aggregation of losses if otherwise permltied under
the terms of this policy if they are caused by any such peril(s).

Jolnt Excess Loss Sommittee information Technology Hazards Clause 1111 61!0‘1

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THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

DEPOSIT PREMIUM AND MlNlMUM PREM|UM
QUARTERLY REPORTiNG - QUARTERLY ADJUSTMENT

This endorsement modifies insurance provided under the following

OCEAN CARGO COVERAGE

1. DEPOS¥T:

This policy is subject to the annual deposit premium(s) shown below, due and payable on
the effective date of this endorsement and on each anniversary thereafier.

2. QUAR?ERLY REPORT¥NG - $RGSS QUARTERLY VALUES SHiPPED:

lt is warranted by tire Aesured to report the gross quarterly values shipped (as per the
Va|uation Endorserrrent attached to this Ocean Cargo Pol`icy} covered by this policy to this
Assurer on or before the liftoenth (15th) day of tire month following tire last quarter 'l'lne
Aseured agrees to maintain complete and accurate records of shipments and el any
reasonable request of the Assurer, surrender the bills of lading and any other pertinent
shipping records to us for purposes the Assurer deems necessary

/- 3. QUAR'YERLY ADJUSTMENT:

Each quarter, tire total premium developed at the policy rate(s) shall be applied 20 the
deposit premium shown below end the difference shall be billed ln the event of cancellation
of the Policy, the Assured shall immediately report the total insured shipments end other
interest insured to the date of cancellation and a statement reconciling the deposit and billed
shipments will be prepared by the Assurers sut>jecl to tile minimum earned premium stated
below.

4. DEPOS§T PREM%UM:
This policy is subject to a deposit premium as shown on the Declarations.

5. MlNiMUM EARNED PREM!UM:

This policy is subject to a minimum earned premium as shown on the Declerelions, Tne
minimum earned premium is fully earned at inception and/or each anniversary thereafter
unless otherwise agreed

All other terms and conditions of the Oceen Cargo Policy and its endorsement(s) remain
unchanged

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SEA 1052 GSDS

THlS ENDORSEMENT CHANGES THE POLICY. PLEASE READ ]T CAREFULLY_

VALUAT?ON
s'rANDARD

This endorsement modifies insurance provided under the following
GCEAN CARGO COVERAGE

Valued at amount of invoice, including all charges not included therein including any
prepaid and!or advanced and!or guaranteed freight plus _“_l__O_f,/£ until declared and then al
amount declared provided such declaration is made prior to any known or reported loss
or accident, but in no event less than the foregoing

Foreign currency is to be converted into U.S. currency at bankers sight rate of exchange
applicable to each invoice andlor credit and/or dralt.

All other terms and conditions of the Ocean Cargo Policy and irs endorsement(s) remain
,..` unchanged

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SEA 1052 0606 F’age ‘l of‘l

 

 

 

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SEA ‘lO'l 7 0606

TH!S ENDORSEMENT CHANGES THE POLlC‘r’. PLEASE READ l`l` CAREFULLY.

ADD!TJONAL CONDIT}ONS / WARRANTIES

This endorsement mcdit"res insurance provided under the following:

OCEAN CARGO COVERAGE

in consideration of no change in premium lt is understood and agreed that the following changes
are hereby made to this poiicy;

ALCOHOL|C BEVERAGES:

lt is hereby understood and agreed that effective from inception, and in consideraricn of
additional premium to be developed at the rates shown in the Rate Schedule, this policy is
extended to cover, including loss and!or deterioration caused by Freezing, shipments of
Alccholic Bevaragea, consisting primarily of Wines, shipped in insulated boxcars or intermodal
containers.

Howcver, in the event the insured in!erest is shipped in standard "dry van” type containers
andior trailers, it is warranted by fha assured that the insured interest shall be protected by a
thermal insulated blanket manufactured for the purpose in each container and/or trailer, and that

/-- the installation cl the insulated thermal blanket is done in accordance with the manufacturers‘
recommendations Further, this Assurer shall not be liable under the terms cf this endorsement
for more than 5250,000 per any one occurrence

Additional premium rates for this coverage shall bet SEE RATE SCHEDULE

The Assured agrees to keep an accurate record or all such shipments, and report monthly the
total shipments by equipment type as delineated in the rate schedule, and pay additional
premium, if any, immediately upon receipt cf involcc.

ELECTRlC CARS:

Warranled electric cars to have exterior condition report at the time lased on railcar$.
Failure to have exterior condition report will void coverage

Ail other terms and conditions cf the Ocean Cargc Pollcy and its endorsement(s) remain
unchanged.

SEA 1017 0606 Page of 1

 

 

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SEA 1017A 0606

THJS ENDORSEMENT CHANGES THE POL!CY. PLEASE RE.AD iT CAREFULLY.

GENERAL PURPOSE ENDORSEMENT

This endorsement modifies insurance provided under the following

OCEAN CARGO COVERAGE

in consideration of premium charged it is understood and agreed that the foiiowing changes are
hereby made to this poiicy:

SEAiOOZ 0606 Oceen Cargo Po!icy, 3) Loss Payee, is hereby amended to reed as foiiows:

i_oes, if any, payei)ie 20 the Assured or Mesonite,lnternetinnai, inc. '

Aii other terms and conditions of the Ocean Cargo Poiicy and its endorsement(s) remain
unchanged

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$EA 1017/§ 0606 page of "i

 

 

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CCP 20 10 09 00

SERVICE OF SUI'I` CLAUSE

Thjs endorsemenl modif'zm insurance provided under the following

BUSINES SOWNERS COVERAGE PART
COMMERCIAL AUTO COVERAGE PA.RT
COMMERCIAL CRIME COVERAGE PART
COMMERCIA.L GENERAL LIABILITY COVERAGE PART
COMMERCIAL INLAND MARJNE COVERAGE PART
COMMERCIAL PR.OPERTY COV`E.RAGE PART
LIQUOR LIABILITY COVERAGE PART
OWNERS AND CONTRACTORS PRQTECTIVE LIABILITY COV`ERAGE PART
POLLUTION LIABILITY COVERAGE PART
PRODUCTS!COMPLETED OPERATIONS LIABIL]`I`Y COV"ERAGE PAR'Z`
RAILROAD PROTECTIVE LLABILITY COVERAGE PART
COMMERCIAL UMBR.ELLA LIA`BlLITY COVERAGE PART
COMMERCIAL EXCESS LlABILlTY CGVERAGE PART

lt is agreed that in the event of the failure by us 10 pay any amount claimed 10 be due hereunder, we
will, at your request, submit to the jurisdiction of any court of competem jurisdiction within the
Unitcd Stawc of America and will comply with all requirements necessary to give such court

,-~ jurisdic!ion and all malich arising hereunder shall be detennined in accordance with the law and
practice cf such coun.

lt is further agreed that service of process in such suit may be made upon the person or organization
shown in the Policy Declara!ions or upon us at the address shown in lhe policyjacket.

And that in any sail hutimted against any one ofthcm upon this conuact, we will abide by the final
decision of such court or ofany Appellate Court in the event of an appeal

Thc above named are authorized and dircclod 10 accept service cf process on behalf of us in any
such suit and/01 upon your request to give a witten underwng 10 you that we Will amer a general
appearance upon our behalfin the event such a suit shall be instituted

Funher, pursuant 10 any statute of any stale, territory, or district of the Uniled Statcs of Amcnca,
which makes provision therefore, we hereby designate the Superintendent, Commissioncr, or
Directors of valencia or other officer specified for that purpose in the statute or his successor or
successors in office, as their true and lawful manley upon whom may be served any lawful process
in any action suit, or proceeding instituted by or on your behalf or any beneficiary hereunch arising
out of’lhis confraci of insuranc:c, and hereby designates the above named as fha person to whom the
said oilch is authorized 10 mail such process or a true copy thereof

CCP 29 19 09 00

 

 

 

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SEA 1063 DGBS

TH!S ENDORSEMENT OHANGES THE POLlC-‘Y. PLEASE READ |T CAREFULLY.

WAREHOUSEMAN’S LEGAL LlABlLlTY
EXCLUD{NG ACTS O£-` GOD

Thls endorsement modi§es insurance provided under the following

{)CEAN CARGO COVERAGE

This policy is extended to cover the legal liability of the Assured as a warehouseman for
physical loss or damage to lawful goods and!or merchandise accepted by the Assu:ed for
storage for which the Assured has lseued a warehouse rece§pt from the time the Aseure<l
becomes responsible for said goods andfor merchandise until the Assurocl responsibility or
liability ceases including while in the caro, custody or control of the Assurecl in said
mrehouee{$) per the Assured’s warehouse receipt

lt is agreed between the Assored and the Assurer that the Assured is takan upon themselves
as to said goods and!or merchaodise only the rlsl<'s, perils and liabilities of a warehouseman
imposed by law upon the Assurecl. Also to pay all legal expenses and costs incurred in
defending claims founded or unfounded in respect ofth insurance provided herein

1. LlMlT OF LlABlLl`l'Y
These Underwriters shall be liabla, irrespective of values at risl<, for no more than:

Location Lirni
3524 Business Ceutcr Drive, Chesapeake Virgim'a 23323 31,000,080.00
950 Vitality Drive, Comstoclc Park Michigan 49321 Sl,OQO,GD0.0U

2. DEDUCT|BLE

From the amount of each claim recoverable hereunder the sum shown below shall bo
deducted

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3. EXCLUS§ONS
Thls policy does not covert

A.

B,

liability for loss or or damage to vehicles andlor containers andfor real property except
to the extent such may be held for storage and/or consolidation by the Assured;

Liabiliry for which a contractor or subcontracior is responsible and for which by speclal
agreement the Assured shall have waived their rights of recovery unless such waiver is
endorsed hereon and additional premium paid;

Liability for respect loss or damage to accounts bills, currency, deeds, evidence of debl,
securities money, jewelry, watches precious slones and similar valuables or any form
of animal life or plant life. except With express Wr`rtlen permission of the Assurer;

Liability arising out of the neglect of the Assured to use all reasonable means to save
and preserve property for which the Assured may be liable;

l.oss, damage or expense including legal costs incurred defending claim founded or
unfounded under the deductible referenced above;

liability for loss or damage caused by or resulting from nusappropriellon, secretion,
conversion infidelity or any dishonest aci on the part ofthe Assured or of his employees
or agents;

. Liabillly for loss or damage caused by or resulllng lrom volunlary parting, fraudulent

scheme, tricl<. device or false pretense including but nol limited to forged
warehouseman’s receipt andlor unauthorized instructions to transfer property to any
person or any piece;

. Llability for loss or damage arising from loss of markel end!or inherent vice, demurrage

or other consequential loss; ,
Loss or damage lo property owned, leased, or rented by the Assured;

Loss or damage to property covered or would have been covered under any warehouse
andror processors endorsement (if attached) of this policy;

liability for loss or damage to property that was stored gratuitousry, as an
accommodation; is held as collateral or in trust

Liability for loss or damage to refrigerated or other similar perishable goods except with
wrltlen permission by lhe Assurer;

_ liability for loss or damage caused by mysterlous disappearance unexplained loss or

shortage upon taking invenlory howsoever oeused;
l,oss of life or personal injury, howaoever caused;

Llabllll"y that would be covered by the terms and conditions of lhe standard
Comprehensive General liability Polioy as promulgated by the insurance Sen/ice
Organlzation (lSO);

liability assumed by the Assured under contract or otherwise in extension of the liability
imposed upon the Assured by law in the absence of contract unless wllh the express
written permission of the Assurer;

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SEA 1063 136ij

Q. liability for less or damage due to extremes in temperature changes ln atmospheric
pressure, leakage, evaporation, shrinkage loss of weight loss of volume, rust, oxidation,
cnrrosion, fungus, mothe, inaects. vermin, infestation, wear or tear, decay and
deterioration; or

Rr liability for loss or damage caused by acts of God including but not limited to:

ll Surface Water, waves, ltidal Water or tidal wave, overflow of streams or either
bodies of waler` or spray from any of rha foregoing all whether driven by wind or
not _

ll} Walerwhlch backs up lhwth sewers or drains;

lii} Water below the surface of the ground including that which exerts pressure on or
flows, seeps or leaks, through sidewalks, driveways, foundations, walls, basement
er other floors, or through doora, windows or other openings in such sidewalks,
driveways, fdundations, walls or floors; unless loss by fire or explosion ensues
and ihe Assurer shall then be liable only for such ensuing loss;

iv) Any earth movement such as an aarthqual<e, mine subsidenea, landslide, or earth
sinking rising or shifting but the Assurers will pay for direct loss or damage
caused by resulting tire or explosion il these perils are not otherwise excluded;

v) \/oican%c emption, explosion or allusion; however, the Assurer will pay for direct
loss er damage caused by resulting dire or explosion if these perils are not
athens/isa excluded

`vl) Volcanic action means direct loss resulting from the erupfion of a volcano when
the loss is caused by:
al Airbome vclcanic blas! or airborne shock Waves;

h) Ash, dust or particulate matter on
c} Lava Flow.

All volcanic action does not include the cost to remove ash, dust or particulate
matter that does not cause direct physical loss le the property insured;
vii} Windstorm or hail, regardless of any other peril insured against or otherwise; or

viii) Rain, snow, sand or dusi, whether driven by wind or not, if that loss or damage
would not have occurred but for the Wlndstorm er l-lall.

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SEA 1053 0605

3. CLAIMS AND CLAlMS PROCEDURES

ln the event of any occurrence Which may result in loss` damage and!or expense for which
the Assurer may become liable under this insul'an»:i=:l notice thereof shall be given to the
Assurer as soon as practicable and all documents relating to such occurrence shall be
forwarded promptly to the Assurer or their designated agent, AND THE ASSURED SHALL
NOT ADMIT LlABlLlTY WiTHOUT PR|OR WRi`lTEN GONSENT OF THE ASSURER,
Whenever required by the Assurer, the Assured shall cooperate with the Assurer {at the
latter’s expense) in all meters which the Assurer may deem necessary in the defense of any
claim or suit or appeal from any judgment in respect of any occurrence as herein before
provided in cases where the liability of the Assured as aforesaid investigation and!or
contested with the consent of the Assurer, this policy ehall be liable for and will also pay in
full, costs and expenses paid and incurred in investigationl contesting or settling liability
This insurance shall be void and et no force or effect in respect of any accident or
occurrence in the event the Assured interferes in any negotiations of the Assurers for
settlement or in any legal proceeding in respect of any claim for which the Assurers are or
may be liable under this insurance

4. SUBRDGATKON

The Assurers shall be subrogated to all the rights which the Aesured may have against any
other person or entity, in respect of any claims of payment made under this policy to the
extent of such l>?=iyr‘nentx and the Assured shall upon the request olathe As$urers. execute all
documents necessary to secure to the Assurers such rights.

5. ACTlON AGAlNST THE ASSURER

No action shall lie against the Assurer unless the Assurad shall have fully complied with all
the terms and conditions of this polley, nor until the amount of the Assurecl's obligation to
pay shall have been finally determined either by judgment against the Assured, the claimant
and the Assurer, nor unless same shall be commenced within twelve (12) months the linal
§uclgment or decree is entered in the litigation against the Assured, or in case the claim
against the Assurers accrues Wlthout the entry of waive (12) months from the date of the
payment of such clalm; provided that where such limitation of time is prohibited by the laws
of the State wherein this policy is iaeued, then no such suit or action shall be sustainable
unless commenced within the shortest limitation of time permitted by the laws of such State.

 

 

No claim or demand against the Aaeurers under this policy shall be assigned to or -
transferred to a third party and additionally, no person excepting a legality appointed
receiver of the property of the Aesured, shall acquire any rights against the Assurers by
virtue of this insurance without the expressed consent of the Assurers.

8. LOSS PAYMENT

ln the event of loss recoverable hereunder such loss is to be paid within thirty (30) days after
presentation and acceptance of satisfactory proof of interest and loss liability

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7.

19.

SEA 1083 DSUS

OTHER iNSURANCE

lt is expressly agreed that this insurance shall not cover to the extent of any other valid and
collectible insurance whether prior or subsequeni hereto in date, and by Whomsoever
effected , directly or indirectly covering the same property and/or iiabiiity, and the Assurer
shall be liable for loss of damage only for the excess value beyond the amount of such other
§nsurance. in the event of !wo or more of this policy's coverages apply to fha same claim,
the Assurer will not pay more than greater cf the aciual amount of the loss or the highest
coverage limit applicable 10 the loss. Permission is granted the Assured to purchase
coinsurance or excess insurance.

REPORTS AND PAYMENTS OF PREMIUM

The Assured agrees to keep an accurate rscord of all shipments accepted for carriage and
to report to the Assurer as soon as practicable after each month number of containers ad
valorem declaration amounts and gross receipts Premium shall be paid thereon as listed on
the Rating Schedule.

iNSPECTlON OF RECORDS

The Assurer shall have the privilege, at anytime during business hours to inspect the
records of the Assured as respects shipments coming within the terms of this policy.

WAREHOUSE RECEiPTS

The Assured agrees to place the issuing amca of the Assurer on it's mailing list for any
warehouse receipt changes and wii! keep this office supplied with up»to»date copies of
warehouse receipts and other contracts with third parties

All other terms and conditions of this policy remain unchanged

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lady 16, 2008

Mr. .»*\nihony Smith

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NEW `Y'Qrk, N"f’ 31303,3

R!i: ()ur I“`i!e L`.U 274(>
Amh¢)n_\‘,

Auachvd you win Hnd our c}aim for shortage of 19 palfets <)t"l'¢:»qui!a toraling
510{).473.1'){§.

l have attached ali documents cm ‘ch panamng to our in'vcsiigatien. 1 wi¥! lim below the
documean in chc order presented in this fxlc. You may want 1`.‘0 munb‘¢r these pages'when
you get fhcm as iis!ed beiow.

Msr) f have listed coniac?s and phone nwan 01' people f have speks:n with regarding
wis shortage for your cc:`)\/cnicnc;: and zt'ferml.

lennii?:r Rwss ~»- Conriccticui Dz`s;ra'butors ~ 203-330¢3098

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Eric ~ N:-rfiona¥ `i”ransporm;ions Adj-nsmrs (nssigrwd ivy l,¢:xingxon} ~1302~6*}¢»()23?
,lack I-hzusm:r ~-ACMF. C1a§ms .‘:`§ervi¢:e>z (assigni:d by NTA) -~ 702~734-{}?75

Ken K?cln~ `¥"¥'B ~ inve::;zigmion al Patmn - 20\">»553'] 72" ~' §ch 202~306-95'?3
mehew Z.avi::.)' - 'I`TB - lnvest£ga%c)r assigned m visit Pamm 503~3 59- 1 026

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lisa Ragx) -~ Pamm --702~26?.-'9411.6

Jcrmi§:r R\')ss spoke wiih Pmmn and asked zinc questions 3 needed answered; however
phrer number and contact is 113th above for l’umm.

?.O. Scx 5¢310 » i'\nssuth. N\S 3383»’.
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'L`hs: shipment ms.pickcd up in 1113 ‘v’egzxs fm A])r§i I(), 2903; unabif: m read $ign~arurc m`
driver who picked up the load i have co'nlacted (f’o:mecticzzt Disrribumrs'and they have
asked ¥’mmn if a gale ing was kch where the driver printed his namc; ii was nm; we haw
been unabh:. w abram !be dxivcr’s name; Dol£r: S<:rvices is ami coopcmi}ng in l}w
investigation '¥`}1€: driver tcm`kihc load back to Ca]ii`omia where another driver look due
load from Caiij`omi:a Io. Conm:ci‘icui. '{'}z§s driven Ra;:mond szdnot, ms stoppmi in
Guilnp. New Mexic~.o by 1ch DO"{' fm Inspecti<.m. 'Y`eu will find attached a copy ofth
moon ¥\"hen me DOT opened and inspected the iraiicr, ha 'i"mmri oniy 38 pallets of
lequi!a on fhc‘mxck- Tiae origin sea? was ima<:t. § have been uz)zabie co i`md am who
sea}ed the zraiis‘:: at Paimn Spirits. My questions have becn, “"D§<i Patmn give the seal m
due driver m seal the load or did 931an seal the lodd?" `N'o one has bci:rl able 10 answer
this question Wc know the f)rigin seal was iniac‘t when me DOTIn NM opened the
trai!er 'i`i>r inspection 'H'ae l‘}O'Z` counted oniy 13 pallets at ihis point and rtseajcd the
majicr, `}`hc driver then states his truck broke dnwn in ‘i`cxas cali`>s§ng a delay in delivery
"i`hc load dciivczed cm Ap:ii 25. 2008. '

m gram nom w § gave the load m Dcal}c Scrviccs; she draw (?) wh:> signed for the Joad
indicated he dmve far L)ulie Scrviccs. T}n: carrier name on fha report indicnicd the
rmi§cn’drivcr was .~KH fargo Transpon. 3011 Ward¢, Cz>merswne ngems, spoke 10 Do§le
Sx:wiccs and daley ind§cak‘>d they had bought the equipment from fail C$argo Pr¢:ighz end
tim had nor transferred she equipment wilk me Dx',?'§`./FMCSA yca

When 51 was discovered live pmdum was missing and tim inventory was not ar Patx‘u':z,
sh¢>nl_v afmz Apri? ?.5"‘, 3011 Warxi wi1h C.orr;z:r.~rmn:: Sysh:ms remand the '§m:id=e.m m the
'!'Z`B. T%z§s is bow me 'I"I'B became im'o§ved.

`I`iu~:.\:e arcjlm a few myles and ify<)iz have any olier questinn>;, 1131 me know § do know
me customer i:s anxious fm payment.

’I'hzm§< you and feel free 10 conrad me Wiih any qw:siions by emai} or phone at 388~~'1 l 4*
m 37 01“1'$62»¢362-7$93.

Sincerely,

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Cumcrsluxw Systems, }m:.
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CHENT:

CLAIM NUMBER: .

 

INSURED:

DA'I'E oF Loss:

OUR PILE N‘{_HV£BER:

DATE OF REPORT:

   

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3‘1353*\!¥1423!:):1 Oaks Courk

' wheasz rL sma?"aoz~a

Pidz (888) 29&7665

I"nx: (630} 784»84=¢5

Z‘l»hcur: (639} 784‘8:141
Websi?r: www.mrciusa.cmn
Agancy Licanse ?1*117~081~036

CONF[DENTIAL INVESTIGATIVE REPORT

FIRST REPORT

W. K.'WEBSTER
19!63!11829
COR`NERSTONE SYB'I'EMS
APRIL 16-18, 2008
MIR€DB~ZB'?`#S

SEPTISMBER 4, 2808

 

 

 

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EXECU'I`IVE SUMARY:

On 411 612008, under Bil! of Lading (BOI_.) #49551, dated 4/3/'2008 {Atzaclz.ment I), 23 pal§ets
containing 1,279 cases of iequila or spirits Was shipped imm the Pai:ron Spirits Company, 6670
South Va}}cy View Boulevard, Las `Vegas, NV 89113. The dziver checked out of Pat‘mn
Spir§ts at 3:53 P.M., signing on behalf iof gamer Dolle Servicss, and returned with the Joad 10
Ca§ifomia rather than heading eastward for Connecticut. MRC lovas!igations (USA), lnc.. was
unable to contact anyone at Dolio Sexvicca, so we don’t know where in Caiifornia the load was
taken. Apparenily, B)ey switched drivers ami tractors.

Drivcr Rzymond Hadnot left Califomia with the §oad on 4/} 8/`2903, and was stopped later iith
day at the Gal!up, New Mexico DOT checkpoint for a vehicie and Zoad check `.New Mexica
I)PS §nspector Kmmeth Homer, while checking the ioad inside ihe hailar, found oniy 13 palicts
of spirits as compared to 28 pallets nn thc BGL {Attachmem 2}. Sea! #PSCUM£SB, noted as the
original seal on the BOL, was aim intact and was broken off for the inspection Inspectcr
Homcr aE`l:-Led a New Mexico Motor Transpmt Division seal #GDOD]S? afm the inspecting
which was still intact when 1112 rmaining 18 palieis were delivered to consignee Conncctlcur
Disnibutors.

Com:\ecticut D§stributozs filed police report #US-I 4133 wiih the Sh~atford, CT Poiice
Depar!ment an 61191'2003 (Amachment 3). Connecticui Dist:ihufors also filed a claim against
freight broker Comcrstone' Systcms, who had tendered the load to Dclle Servir,es, for
$}00,478.00 {Atiachment 4). Comerstone Systems in turn 53ch a claim against Do!]c Servicc
and AB Cazgo Freight (al}cgedly owned by Do}!c Service), through their insurance agent
against chington lowrance Company {At!acbment 5). Alihongh the buck canying the load
was idantiied as All Cargo Frcight, Corners£onz S}'stems Was to}d verbally by Dol!e Serviccs
that Dolle owned mabsidiary Ali Cargo Fre§ght, so ii was not a separate business entity

flowersch Systems had a Broker/Motm Carrier Agrccmcnt in e§'cct with Do§!e Sezvica, Im:.
(Adachment 6) and bad obtained various due diligence documents regarding Dol!e and AH
Cargo Frcight (Attachment 7). Comars!;one also had a Commcrcia§ Lines Policy with Cemuxy
Surzty Company {Atlachment 8). There is 110 contract or ag¢ement between buyer
Connecticu£ Distribntors and broker Comerstone Systcms, aithough £hcrc is a longstanding
business relationship between the mm Cozmecticut Disb"ibnto:s purchased the spirits from
Patmn Spirits under teams FOB sbippcr’s dock, therefore owning the product when it was
stolen and Medng thc 3055.

Thc only two oppnrhmities for this loss to occur were to ioad only 13 pallets at Patc'on Spizits,
or to remove 10 of die 28 pallets in Ca]ifomia whi}e in the care, custody and control of Do}le
Service. If ihc Iatlcr, then the seal was not properly a$xed at Patrcm Sp'arirs since that same
seal was still in piacc and undamaged when the track arrived m the Ncw Mcxico DIPS
checkpoint Regarding the forman at best two complete inventories Were conducted without
finding any additional {e)ctra) product nn hand, one by Pam)n and one by due Ajcubol and

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‘ . " ¥ ¢ '-",'"¢‘ ' `
l investigations
Tobacco Tax and Trade Burcau (TI'B). Pa{roz: Spirits reportedly “..,is very strict about

walking thru the loads with the drivers and making sure all is on the truck.,.”, and cites that the
driver signed for the whole load (Aitachmem 9),

   

Om' investigator found Lhat canicr Do]lc Scrvice, Inc., besides having their phone and fmc lines
discomected, have an address that is oniy a convenience mailbox in a mailbox service store
{located in a strip maii}. 'I`hcy have not been seen al the mailbox service for about a month,
and their mailbox is overfiowing. Thcn: is no truck yard, tc:minal, or any actual business
facility All Czrgn Freighz, ihe supposed wbsidiazy ofDoHs who picked up and carried the
s}dpment, has an address that is a similar convenience mai!box in another location and its
phone numbers are dimmedc:d. ‘1`31§3 pattern of activity, including the mai}box addresses and
the mem timing oftheir MC regisimtion (Apn"l 2008), the fact that we can‘t §nd anyone to
?a?.k to, and apparently dosan down operations after on}y afew months of business are 331
iqdicative cf what police are calling “Russian Maiia” cpemiions in the greater Los Angeics
area

MRC worked wi%h the Los A:agc]es Cmmty Sb€ri§"s Depazlmcm Cargo Criminal
Appre?:ension Team (Cargo CATS), the Califomia Higbway Pairol’s Cargo T}zeB lntez'd§ction
Progr~am (CTIP), and the Los Augeies Po!icc Deparbnent’s Bmglary')§uto Thefc Division,
Commercial Auto ’Iheh Section (BAD CATS) in disseminating the relevan¥ product
infonnaiion which could be beneficial if it is deiermined thc product had been stolen.

On 7116/2008, MRC Invcstigzztions‘OJSA), lnc. was requested to investigate this loss. ‘I“hs
following is a rech ofour investigadon.

 

INVESTIGATION:
Conmct w§ih Comerstoge Svstem§, `.{m~.. 325I] P}syers C!ub ?arkwaL Memgh§s,
TN 38125 `

Ms. iam Haley (888-414~01}7) stated that Comerstone Sysiems works for Cmmccticut
Disiributors, and has for many years, without a contract or agecmcnt. She iimher stated that
Comerstone brokered ihis load to Dol}e Service, luc., Who sent an All Cargo Freight buck m
carry the shipment As noted in the Execzst§ve Smnmary above, Alf Cargo 'Freight is reponcdiy
a whoiiy owned subsidiary of Dc}le Service. Ms. Ha}ey also provided a detai}ed summary of
the case so fa.r, and all cf the written documents at Attachments 1~9.

Contnct with Pam)n Spirits Com};§nv. 6670 Sogth Vn!!cy Vicw Bou]ev:zrd, las
Vega§NV 89118

On Augus! l, 2088, a&er much de}ay, we were finain able to speak 10 Ms. Lisa Rago at Patmn
Spirits Company. The founng is a sznnmary of Ms. Rago’s statement and she is identified
asc

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lnvestigatlons

Name: Lisa Rago v
Company: Pab'on S;)irits Company
Posltlon: Logistics Manager

Business address: 6670 Valley View Blvd., Las Vegas, NV 891]8

Business phone: 702~?.62»9446
Rago stated the Warel]ouse manager was responsible for setting up the load inside fha
warehouse before the driver am'vcd- He was responsible for checking the load to make sure
the entire product ordered lay the causignee Was placed on 23 pallets and shrink wrapped

wording to Palron Splrlls Company bill of lading #49551, the transportation was handled by
Corncrstonc Syslems, Inc., a broker frequenily vserl by the consignee Rago staied the load
was brokered to Dollc Scrvice, lnc. and to her knowledge it was the flrst lime they W::Ie used
to pick up a load iam them The previous carrier transported a total of eight loads without
incident, but Dollc Scwice was used because they Were cheapcr‘ Sioce the consignee has gone
back to using the original met there have been no other problems. Rago slath that Patron
Spirlts Company only issued one hill of lading, #4955l and tlaaz covered the transpor'£srlloa
from Patron Spirits Company `m Las Vegas, to the consignee in Stzatford, Connecticut. Sln:
aéded that she did not issue a short haul bill of lading but the driver was not limited to the route
he was 10 lake to Comecticnt leen ihs Dolle Servlce, lno. driver arrived the warehouse
manager was zespunsilalc for doing a walk through wilk lhe driver to con§rm all the pallets
were present and the bill of lading reflects the load was checked with fha driver as evidenced
by the chcclonarl<s. 'l'he driver then signed the bill of lading and the forklift driver loaded flsa
pallets in the trailer.

Rago did not recall anyone mentioning any markings, license numbers, ctc., on the trailer,
which is not unusual since the only thing marked on the bill of lading is the trailcr’s equipment
number which in this case was #35. 'l'l;e warehouse manager issued Seal #463 and hand
recorded the number on the bill of lading and placed his initials near due area indicating the
trailer Was loaded at door #7. Rago had no knowledge oftl)e route the driver took once be left
and only learned sometime later that he arcme to Califomia. She was unsure from whom she
learned this fact Rago declined to speculate as 10 why the load was short but alia the shortage
Was reported to authorilimc, federal agents and company personnel checked the inventory and
determined it was in balancc.

R.ago escorted us into the warehouse where she showed us exactly the procedures that are
followed and how the product is pullod and staged for loading She mendozach them were
secmizy cameras positioned throughout we Warel:ouse and all of the dock doors were covered
When asked ii`the surveillance video for April l€th had been mviewed by anyone she claimed
the widen is only kept for seven days and then it is faped oven By the time this shortage Was
discovered and reported the tape was being reuscd. (Iz should be no!ed rlth Hazzsner had been
raid the cameras were down on ;he day the naming precinct was locded.) Ragc+ bad no
additional information with regard to the shortage and was at a loss to explain how ll)e seal
could have been opened without breaking it

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investigations
011 August 4, 2008, we received an emall flom the `Warehouse Manager, Mx, Paul Fisher, who

was responsible for setting up the load and the forklift driven MI. ll&ke Guex'rcm. la the small
they described their loading procedures as follows:

(l) The load is checked prior to the arrival of?lze cam'er.

(2) Dn arzival, the driver is assigned a floorto back up to.

{3) The d:iver physically counts the load wlih the forklift driven

{4) 'l'he forklift driverloads the miller. The driver may observe m nci at his discretion

(5) Once the trailer is loaded, the driver signs the l)ill of lading and is inmucied to pull
forward and close the trailer doors, after which the fockliH driver lnstalls fha seal

Corimt with none smiw. In¢., 15981 Ymeu street #215, svlmar, cA 91342

lleC’s inthigator found thai canier Dolle Service, lm:., besides having their phone and fmc
lines disconnected, has an address that is only a convenience mailbox in a mailbox service
store (Jocatccl in a ship mall}. 'l`lzey have not been seek at the mailbox service for over a
month7 and flach mailbox is overflowing. Thr:re is no truck yard, terminal, or any animal
business facility Ali Cz.rgo Frelght, the supposed subsidiary of Dolle who picked up and
cam`cd the sbipment, has an address that is a similar convenience mall%)ox in another location,
and 113 phone lines axe also discomwctcd. Tln's pattem of ac%ivity, including ibm mailbox
addresses and the recent timing of their Mmor Cam`e:r registration (April 2098), the fact ihat
we can'z find anyone to talk to, and apparently closmg down operalioas after only 4 months of
hammess are all indicative of whai are being called “Russian Mafia” operations m the greater
Los Angeles arm Auempts to contact either Dollc or All Cargo ilamugh thelr’ msurance agent,
Bargain Auto losch Agency, 14762 Bellflowcr Boulevar<l, Bcllilowcr, CA 99706 revealed
that he had cancelled their coverage because they would not respond to him and he did not
know how`to get in touch with either company

’ latench of lack Hansner -- Insurance Adiusfer far Lexlng§on Insurance €0.

031 Ju]y 22, 2008 we spoke to Mr Fack Hausner on the telephone 'I`hc following is a
summmy oils/ir Hausner’ s statement and he 15 ldcnti§¢d as:

Name: lack Hmzsne;r
Company: A»cme Claims Service
Positlun: ln$urance Adj uster

Business address 4107 W. Chcyenne Ave., Las Vegas, NV 89032
Busincss phone: 702»'?34~0775

Hausncr states he is an insurance adjuster for chisgton lawrence that insured Dolle Scrvicc,
lnc. Hc contacted Ms. lisa Rago and Clwck (last name unloaom), at Pab'on Spirits regarding
thc 10 missing pallets oftequlla. He was provided a copy of the bill of lading #49551 by Rago
which was unreadable and it appeared the driver’s signature that picked up dee tequlla only
used his lnitx'als. Wllen Hausucr asked Ragu for the manifest shipping foam which would

mcc&zcve yage§
aims

 

 

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lnvestigatioms

 

reflect the number of pallets loaded on the trailer, the names of the company personnel who
loaded the pallets, and who placed the seal on the trailer eller it Was loadad, she leg the room
for a sham time and then remand accompanied by the nompany’s ChiefFl)aancial Offlcer, Mr.
David Lawrence. Lawrencc informed Hausner that be dld not like the idea of him accusng
one of their employees of llxefi and ordered him to leave the premises. Bei`orc leaving
Hausner was able to secure li'om Rago a sample of the seal ivey used to seal the mailers after
loading which he noted was a metal seal that once fastened on the door could not have been
removed without breaking m cutting it

Hausnez de&ermlned ihs tractor and trailer used to pick up the load belonged to All Cargo
Freigh?, which may or may not have been purchased by Dolle Serv§ccs, lnc. He also
determined the dxiver xelmned m Sylmar, Califomia where they switched the tractor to one
owed by D<)ll¢ Servlce, lnr.:. before continuing on to Connec=ticm. 'I`he load arrived late in
Comzectjcui and the dr§ver did not indicale he broke down or provide any c:edlblc reason for
the load being delivered late.

Hausm:r attempted m determine from Rago if they made a copy of the driver’s license cf the
dxiver winn picked up the load orwho the foreman and forl<lifc dxivcr was at the time of loading
but none ofthe mfarmatlan was provided to him. Rago iold Hausner ibm although they have
camcras located throughout the warehouse and loading area at the time this particular trailer
was loaded, they were all down and in ibe process of being reconi?gured.

Hausner ampied to contact Dollz: Servicc, Inc. but the person answering the phone told him
he would have to discuss the matter with Dolle’s General Managcr,~ Mx. Davld Lasko, who
only came in to work fmcc days a week Hausne:r attempted fo call Lasko many times on thc
days be was reportedly at work but he never received a tamm call Hausncr sent a ccr£liccl
letter to Laslco in cars ol`Dolls Scrvicc, lnc. to family Lasko that if ha did not respond by the
end of lunc, he, Hausoer, would have to no§fy their insurance bfokcr, By the end of §un¢:,
Hansner still had not heard from Dolle Serviccs, lnc., 50 he sent a second cmi§ed letter to
inform them thai if be did not recech a reply vadihin 38 days of the lellcr, all insurance
coverage for Dolle Scrvices, Inc- woul&be dropped and the claim regarding ihe missing tequila
would not be settled Hausocr ncvm' received a response from Dolle Services, lnc,

Hemsner said the swl ulilized by Palron Spizits to seal the haller was #00463 which was
subsequently cut offl)y ¥hc Nc'w Mexico STaIe Pulice when the driver was stopped near Gallup.
This seal was left inside the haller by DOT personnel when they resealed the haller with seal
§009?46 and bath scals were recovered when the traileer 05 loaded by the consignee

Hausner was contacted by A'I"f Speoial Agcm Domingucz in Ncw York concerning rhis maher
and A'I'P Speclal Agent Matllaew Lazier from Clov¢:rdale, Oregon came to Hausner’s office
and obtained a copy of his file on this casc. Hausnec added that to the best 10st knowledge
iba shortage has never beam reported m the FBI and Dolle Servicc, luc_ has not made a claim
against any of the insurance companies I-Ic feels that unless reported by one ofthe companies
involved none of me §nsumnce companies armesponsiblc to same the claim Hc also feels that

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Inves§ga§ons
since the consignee owned the shipment it is their responsibility to report the shortage m the
FBI since it exceeds 333 0,0DB.

S'mce Do§le Serviee, lne, has not provided Hausner with any infonnation regarding their driver5
Raymond Hadnot, or the unknown driver that picked up the load in Las Vegas, be has been
unab!e to intendew or obtain background infonnation conceming either.

On July 30, 2008, we drove to AH Carge Fneigbt, Inc. end discovered that their business
address, 8299 #A~?.S§ Foethi!] B}vd, in Suz:land, Califoz'nja Was no more than a mail drop at a
business sailed “USA Mail Bex Renta}.°’ (Atiachmem 10) “l`he employee on duty would not
provide any information regarding A]l Cargo Freight, lnc. but said we could wife deem a note
and he would put ii in their box.

Gn Juiy 30, 2903, we drove to DoHe Se:'v§ce, Inc. end discovered that their business addrws of
15981 Yemcll St. #215 in Syhner, Califemia was only a mail drop at a business called “'I'he
Mail Room.” (Attachment }1) We contacted one of the nwaer$ cf The Mai! R.oo;n, Ms.
Radisha Brown, who said she has not seen anyone from Doiie Sem'ce, luc. pick up their mail
in over a month and their box is eomp}ete}y fu`B but she continues to put their maii in a box on
the fioor. She added that a man &om ihe baseless directly south of'!'he Mail Room, which she
believes is a credit repair business, reported 20 her that he received an anonymous eai§ imm a
paxson accusing 'I`he Mai! Room of being invblved with Do}le Service, Inc. in §eudnient
aetivities. Bmwn denies any involvement with Dofle Sez’viee, wc., other fhan renting them a
mail box just like the post of§cc, Mail Bexes Bto. or 'I'he UPS Store woqu do. Bzown
checked their records for addiiionai information or contacts for Do!ie Scrvioe, Inc. with
negative results.

We attempted to contact someone at me business immediately south of The Mail Room which
had ne sigaage indicating a buswess name but ihe door was locked and nobody responded to
our knockv We leff a business card with a note asking anyone associated with the business to
neil us. »

Additionn¥ InvcstZgntic>n

We conducted a search waugh the Federal Mr>’mr Cm~ier Safeiy Adminjszra§on (FMCSA)
and discovered All Cargo Freight, Inc., dba Cargo Inzransit, was assigned U.S. D.O.T.
#]45603? and MC #55(}146; however, mere were no additional contact numbers or addresses
iisted for them We conducte§ a similar search for Da}!e Service, Izzc. and d§scovered they
Were assigned U.S. D.O.T. #1638166 and MC #603710 but there were no additional contact
numbers or addresses for them

We conducted a Califomia Corporation search on Ail Ca:rgo Frcight, Inc. Which revealed they
held active Cmporation #C2699059 with a §iing date of Pebnmy 11, 2005. Tbeir cozporate
address was iistcd as 9741 thatland Ave. #1, Shado'w, Ca}ifomia 91040 and their Agent for
Service of Procws was listed es Allcn Avetyzm at the same address. We conducted a similar

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Investigations

search on Dol}e Servic:r:, lnc. Which revealed they held active Corporation #C3099424 with a
filing date of March S, 2008. 'I'heir comox'ate address was listed as 1598} Yarnell St., Suite
125, Sylmar, Caliibrnia 91342 and their Agcnt for Scrvic'e ofP:occss was iisied as Corporalion
Service Company, dba CSC Lawycrs, bacorporai"mg S€rvice, 2730 Gatcway Oaks Da'., Sm‘ic
100 Sacmmento, Califomia 95833

We conducted a criminal search in name only on Lisa Rago, Paul Pishcr, Mi!cc Guerrero agd
R.aymnnd Hadnot. References were found for Hadnot and Pishcr but without additional
ideat'lfying information it is impossibie 10 determine ifi}zey are the same individuals associated
with this case.

We contacted Bargain Insurance Agenny, the insurance broker for Dolle Service, Inc. at 562-
92.0-9116 and SPDkB to Jessica in Cus"tomer Scrvicc. She' said an of ike phone numbers they
have for Dolle Sexvi ce, Inc, have been disconnected and they are no longer one of their ciicuts.

W:: were commuted by another making company who informed us ihzy were fha victim cf a
simi}ar incident involving Do}ic Service, Inc. within thc past six montha

END OF REPORT

Rcspcctfui§y suhmidcd,

%Th/W

Gary W. Verseput, Senior Lwestigator
MRC 1111/ssd gations USA

A’I`TACHMENTS: '

Bili off,ading #4955 1 , dated 4!8!2003

Dxivcrf\!chicl¢: Examinaiion chort &om Ncw Mexico DPS, dated 41‘1 &!2008
S*bratford, CT Polioe chort #08-14138, dated 6/10!2008

Loss and Damage Claim against Comcrstonc Systcms, by Cozmeciicm Distributors
Claim medication by Comerstone: Systems, against Dolle S¢rvice & Ali C'arge Frcight
Broke:r/M'oior Carxier Agreement between Come):'s'£one Sysicms and DOHE Sewice
D<>Hc Scrvice due diligence documents

. Centmy Surety Company Commercial Poljcy #CCP.S¢¥?,ES?. on Cornerstone Sys£ems
Copy of e~mail from Lisa Rago @ Patron Spims re loading procedures

10. Picture ofA]Z Cargo Freight business address- -a mail drop

§ 1 Picturc ofDolle Scrvicc bazst address a mail drop

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§nvestiga

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MRC
Attachm`ent #1

 

 

 

 

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Message Pag¢ 2 of 2

2. `¥he ¥aiching and locking mechanism on ihe doors of the trai\er may have been removed`or‘ bypasssz
without removing the original seal end men repiaced adler taking out the 10 pa!§ets of missan teql}:la,
Since the tlaiier was long gone beforefhls ca$e was opened. and we have not been ante fo Snd elmer

Do|:e Sewice or A?! Cargo Fre;ght companiesq we had no way to inspect me trai!er.

lam returning the adua? physical seals to Gomez~sione S`ystems, who wm hold them in their files.
if there are additional questions, or you desire add?iiona! inveszigetion, please contact me
Tha:nk you,

Ga:y V,

Gery W. Vexseput, Senior investigator
MRC investigations {USA), |nc. '
1135 Wheaion Oaks Court

W¥'ceazon, minds 89187

MVM M§@Lm.

Phone: 630~784 4331 1

Cell: 639-2?&§261

Fax: 628~784_8445

 

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Message Fag-e 1 0!`2

Eileen Floori

From: James R. Ohlfest
§ sent rhmsday,, Seprem her 11, 2008 3erl pm
To: Elleen Flood
Sub}ect: §~`\1'\¢’:01-56878 Corne_rslohe Systems_ lnc. Yr‘F lD/’DB:"HBZQ

IR

 

me: Stuart S}rllllbeer imairto:sshlllibeer@wkwebstemverseas.co'm]
gent: Thursday, September 11, 2008 12:50 PM

To; Jam% R. ohlfest

Suhject: FW: 01~56£576 Comerstone Systems, Inc. "(/F 10/08;’11829

W K Webster (Overseas) l.tci

80 Mair,len l_an»e, 121!1 Floor
New Yorlr, N Y 10638. USA
T: +1 212 269 8220

F: +l 212 363`9?26
wvm.wlovebster,cog_n

Hl Jim,
Please see advice below from invesxlgazor Gary \!erseput.

Best regards

Stuarf Shlllibeer

wrecth

For and nn behalf of W K Webster {Overseas) Ltd
As agents only

Mot)ile !Cell +'l 91? 337 221?
Emall; sshiulbeer@wkwebs!eroverseas.com

W?zh vs offices in New wm and california

---Or§glnal Messaga -----

From: Gary Verseput [mallto:gazy.verseput@mrclusa.com]

$cnt: 11 September, 2008 3231 PM

To: Swart Shil|ibeer

Subject: RE: 01-55676 Cemerstone Sysiems, Inc. Y/F 19]08]11829

9211¢2008 - l have this day physically inspected bo£h seals associated wifh this load: the original metal seal
#PSC'OU‘#S$ (mam.rfar;rured by Tyden} thatwas remi)ved by me New Mexico State Pulice, and the New Mexico
Malol” Transport Dlvlslon seal #DODG?U manufactured by Slol?e|) that was placed on the trailer by them after
weir §nspecllon. Otlaer than the obvious breaks to remove each seal there is no other sign of tampering or
bypa$sing either seals integrity That leaves §er possibilflies:
l. The original seal was not securer fastened when frrsl applied at Fatmn Spln`rs in l,as Vegas. so that rr
looked secure but could still be pulled apart wilburn damage.

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investigatith

1135 Whearon Oaks Cuurt

Wheatnn, l_L 50187-30$1

Ph: (EBS) 293~7665

Faxi {538) ?84~'5445

124-henn (630) 73-.¥~8443
S€Pt€mb@¥ 4, 2003 Websiie: \vww.mrriusa.com

Agcncy License #117~001-086

Mr. Stuart Shfllibcac

W,K, Webster

30 Maid¢-,n Lan¢, 12“‘ mm
New York, New York 10033

Re. Ciaim #10198/1 1829 Comerstons Systems, lnc. MRCDB~EU?S
Dear Mr. Shillibecr - y

§ la addition to tile factual informa§bn provide in our Fimt chort, the following is our analysis
` efthis case.

ANAL¥SIS:

Thc only two possibie causes for this loss Were that the cargo was short loaded at Patmn Spizi€s
in Las V<:gas, or that the scai was not properly affixed there allowing 10 pallets of cargo to be
removed in somewhere in Ca] ifomia between Ap:il 16 and 13. Two inventories, one by Patmn
Spii'i£s and one by the U.S. Alcoho} 'I`rade, and Tax'Bumau {'I'I'B}, found 110 extra pr£)duct al
Pa:tron. On the other hand, carrier Do}§c SezvicefA}Z Cargo Z€x'eight appears to have been set up
just days before this theh, and has since disappeared completely wiih telephones disconnected
and mail box drops umlsed. lt does appear thai Comerstone Systems attempted to do their due
diligence segarding Dnlle, bnz was perhaps focled by false paper'l)src)rk. LocaI police in the Los
Angeles arc'chamcterizing this masking tile& operation as typical of the “Russian Ma§a“ in that
ama

If you have any quwtians about this Pirst chort, or desire additional invesdgation, please feel
fmc to contact me directly

'Ibank you for your .bus'mess, and your patience.

Best regards,

/é; /JW
Gary. ~V€r$@pv¥
Scnior hvcstigator

Enc!osmes

 

 

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oRNstroN,-z Loss and Damage Claim

Company: Connecticut Dis$zibution **53** Presentatjon Date: 04/30¢'2008~

Claimant Claim |D; LDOOOOODQ?¢$S

Claim is hereby filed with the below carrier fort

  

Comerstone Systems
Address: PO Box 8610 FAX 652-5100568

 

 

jPierrage And Shonage \ email: jnaiey@comers§one»syafems.com
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Comerstcme Sysiems ~ lnsurance ` Carr£er C!aim iD:

 

 

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New York. NY 10938 Vehic%e Number:
Pa!ron Spirits Foint Shlpped From:
.6670 Soulh Vai\ey View Customer: Conneciicu'r D§sftibulion

Destination: 333 i_ordship Blvd

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Las egas. NV 69118 swaaf¢rd, CT 05497

 

 

 

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Discount (») $0.00
Fre§ght`Charges (+) $O.GD
Mlsc (+} $9,00

Totai Cia¥m Amount: $490.478.00

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1055 558 Damagé claim

 

Company: ConnecticufDisiribution *'53**

C!aimant Claim !D: LDUUDDO0274B

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“"" T`c `m PAYMENTTO;

CORNERSTONE SYSTEMB. INC. `
ATI'N: PAULETTE SNEEL

5101 WHEEUS DRWE, SU!TE 300
MEMPH|S, TN 38117

REFER TO ,OUR CLAIM# ON REM!TTANCE

 

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Signature:

 

 

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ASS¥{`§NMENT and RELEASE

in consideration cf Onge hund:ed thousand mut hundred seveniy~eighi and
043/100 DoZ|ar:s ($100,4?8.00) and other good and vaiuabfe consideration paid by
Cornersione Sysiems, ¥nc. to Connect§cut Dlstributors (Customer}, the receipt and
sufficiency of which are hereby acknowiedged, Connecticut Dis!ributors does hereby

A. Assign to Cornersione Systems, Inr;. (Pmperty-bmker) ali bf its r§gm. tit§e and
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2008 and attached bi§f of lading against Patron Sp§rits, {shipper), 6670 8 Va!}ey
View B¥vd, Las Vegas. NV 89118.

B. Release and fomver discharge Comersione Systems, Inc, as successors in
interest, directors, officers, shareholders, agams and representatives from ai!
property damage, cargo damage and personal injury cia¥ms of any kind arising
out of the shipment described above,

C. Agrees to provide its ful§ cooperalion to Comersione, iis attorney or its insurers to
colieci' any pfoperty damage, cargo damage or personal injury damages imm
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USI of Temessee, Inc.
53,00 Pop}a.r Avenue
Suz'te 1200

M€mphis, TN 3813?
www.usi*biz

phone: 901.766.5999

 

Mr, James R. Ohifesi

C}aims Representative
CENTURY SURETY COMFANY
4?22 333 249 3338@3

Suiie 200

Phoeni:<, Ar§zrma 85016

RE: PDLICY NO. CCP 489452
Your F33e No. 91-058376
Piiferage Claim

Dear Mr. Ohifest:

We are now finain iri receipt of the actual formal report, supporting documer33ation, and
supplementary correspondence on this ioss. Wrth this perspect?ve in hand, we would
make the fo!!owing comments to address your reservation of rights leiter dated Ndvember

7, 2908.

13 You stated that you beiieved Exclusion K is operabie._ We Wouid argue against this
conclusion for the joilowing reasons:

a. This was a shipper load but carrier count load, not sh?;::per load and count
The exclusion was designed to address the situation Where a driver of a
power unit picks up a complete trailer!container Wh?ch has been 3oaded and
seaied by the shipper prior to his arriva¥, and as the carriers representative
he has not had an opportunity 30 verify the contents. in this particu?ar
shipment the carrier was given the opportunity to count the cargo prior 30
ioad, and did so, signing for it. ~

b. The purpose of this exciusiorz of course is to eliminate “paper fosses" which
resu!i as a function of shox’c»shipping. 33 appears that 333 padies invoived
have a firm belief that the property is missing as a result of 333¢.=,31, most liker
directiy by the easier given the circumstance$. Subsequent independent
inventorZeS by both the shippegr and fha U,S. A?coho} Trade and Ta)< Bureau
con§rm the property shor: had not been lea behind in the origin terminal v

 

Accordingiy, We do not beiieve the ioss 33 exemde wifth the intent of ihis
exc§usion.

   

 

 

 

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2} You etated that you believed E)<olusion L le operabie. We would argue against this
for the following reasons: ,

a. `i`hls exclusion is designed specifically for location coverage i.e.
warehousing The‘ lose in question occurred during transit and therefore
mysterious disappearance does not come into pley, To characterize that the
DPS officers count oi the cargo constitutes an "inventory” is simply not
correct

b. Ae above, the intent of this exolusion, too, is to eliminate 1paper loeses”
Where there can be discrepancy in inventory at a storage location over a
extended periods of time in you reservation of rights letter, you state grow
belief that the loss Was a direct result or theft during the course of transit

Acoordingly, We do not believe the lose ia excluded Within the intent of this
exclusion

3) ¥our letter discusses the possibility of the operation of two other exclusions, namely
J and il)l. .
a. J is a common iniicieiity exclusion and as it speoiiioeliy excepts carriers ror
hire from its app.lioatir;)nl we don’t believe rt ia operative in this instance
b. The file documents the due diligence in Whlch the assured engaged When
vettan the carrier We do not see negligence on their part.

The surveyors comments as his investigation progresses further serves to substantiate
the olaim. it is clear that all evidence points to the carrier being directly responsible for the
theft and the events are quite consistent with the pattern which law enforcement the
Southwest described in detail to the investigator. ,

For all of these reasons, We beileve that there is clear evidence that the claim is net simply
the product of a short shipment’but in fact is the result or a theft in transit of the oargo. in
addition to covering any liability directly imposed on the assured for lose or damagex one ot
the primary coverages provided by the policy under which this claim le being made is for
exactly this type of situation ~ a carrier having a iiability for lose or damage and not being

able or Wiiiing to settle to the property owner.

Aceordingly, we ask for your prompt reevaluation of the tile and look forward to your
favorable response

e%;a/ 7%’///»%»,~/%

George Nl. Moreiand lll
Senior \l“:ce Presldent
USl of Tenneeeee, lno.

Cc: Andy Long
Jonathan Ward

 

 

 

 

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Comerstone Systems orr Nirr\?.en'ibér -7, 2,§93

 

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Bmcc N. meford' 1000 `\X"arcr Par§< Placc R.iclmrd`Wl Hu.&‘man*
james Olav Saboe Sl(ll Olson Mcmorial Highway _ Crajg D. Greenberg
Ronald H. Usem" Minncapolls, Minnesora 55422

Tcl¢:phonc: 763'545~2720
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VIA CERTIFIED MAIL. RETURN RECEIPT REOUESTED

Century lawrence Group

&tt_n: .lames R. Ohifest, Claims Rep.
P.O. Bex 163340

Columbus, C>H 43216-3340

RE: Claim No.: 01-056676
Poiicy No.: CCP469452
Insured: ' Cornerstone Systems, Inc.
Date of Loss: April 16~18, 2808
Type of Loss: Theft

Dear lvlr, Ohifest:

Plea.se be advised that l represent Comorstone Systems, lnc. of Memplzls, Tezmessee with
_ respect to the above~entitled merter.

Th_is claim was tendered to you initially on or about lilly 16, ZGOB. You already have in your
possession the investigative report of MRC lnvestigations, which states that there is no doubt that the

ten pallets of tequila were stolen.

As you also know, Connecticut Distn'butors Was the owner of the shipment and incurred a
loss 01”$100,478 Cormecticut Distrlbutors asserted a claim against Comerstone for that amount and
as you also know, Comerstone paid it on or about luly 28,2008,313{1 obtained an Assigmnent of

Connecticutl)istr§butors rights

Slnce Century has denied the claim by its letter of November '?, ZGOB, l Will address your
assertions that various exclusions preclude payment of this claim

A. With resgect to Vour assertion that Exclusion K applies

l. “Liability for loss or damage arising from pilfcrage from shipper’s load and count
containers and/or conveyances unless original seal shows evidence of tampering.” Your reliance on
Exclusion K is misplaced. The “savings” clause relating to the evidence of seal tampering xs
irrelevant because evidence shows the shipment was not transported “shippez' load and count” The
phrase shipper load and count” does not appear on the bill of lading, nor do the letters “SL&C”, per
standard m the industry Additionally, there' 13 no evidence of ‘ pilferage” Your policy of msuraoce
provides no definition of the term ‘pilferage”, and Without a definition m the policy, 15 subject to
nunnal interpretation and construction Pilferage is defined by We_l>ster’s Dictionary as, “to steal in

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Mareh 3, 2009
Page 2

small quantities or articles ofsmall value,' to promise polly zheji.” {Dictionaiy.com, “pilfer," in
Webster's Revised Unabridged Dictionazy. Souiea location: MICRA, lno., hilj;);!_/_i:;ligti_oo_z_i_r;§g4
referenceeom/browse!pilfei. Available: http:/)’cliotiona.ry.referenee.eom. Aoeessed; Fel)ruary 16,
2009.) The MRC lnvestigative.Repon~sliows no evidence ofpilferage. 'l`he loss in our case is not
small l do not believe 3100,000 loss constitutes “petty theft”. lite “pilt`erage” definition does not
match the facts of our case Exo_lusion K relates only to pilfezage “from shipper’s load and count
container and/or conveyances unless original seal shows evidence of tampen'ng.” Under law
applicable to “shipper load and eount”, the eanier is not responsible i`or damage resulting from
improper loading or any discrepancy in count or concealed damage to articles Sinoe the bill of
lading was not marked “SL&C”, the eanier zemains liable for the loss.

2. 'l`iie second phrase of the exclusioo, “imless original seal shows evidence oftampering,”'
eliminates the effect of the exclusion if the seal is broken 'l`here is no evidence of tampering or
breaking of the seal except by law enforcement personnel 'l`hus, the exclusion is not eliminated by
operation of this phrase lt is eliminated as described above

3. Your strained interpretation ofExclusion K Would make a_l_l theft “pilferage”` and thus
exoluded. Fmthermore, your undefined interpretation of“pilferage” makes the exclusion ambiguous3
and subject to multiple interpretations As l am sure you know, as a matter of law, ambiguities are

consumed against the insures
B. With respect to wsroizr assertion that Exolusion L applies

l. ’l`lie MRC lnvestigative Report clearly shows the products were stolen (the'ft) and your
letter of denial acknowledges _tiz_e_§ repeatedly. Yoor assertions that the loss Was “unexplained”,
subject to “mysterious disappearance”, or “was shortage on taking inventory” are unfounded lo fact,
the MRC report explains the loss in considerable detail Additionally, there was nothing mysterious
about the loss. Case law relating to this exclusion is enlightening in a ease dealing with the
interpretation of the meaning of “mysterious disappearanee”, a Miehigan court belo that
circumstantial evidence may persuade a trier of fact to conclude that theft Was more probable than
any other theory lt there is evidence pointing to a theory of causation showing a legal consequence
of cause and effeet, it does not matter if evidence supports other plausible theories A jury may
reasonably iofei, based on the evidence presented, that theft is more probable than anyf other theory
of loss. Onee this evidence is provided, the binden shifts to the insurance company to prove the
“mysterious disappearanoe” exclusionazy clause precludes recovery Gibr'alter Plasties lnc. v.
Ciiubb Groug of l;_iswance, 502 N.W.Zd 742 (Mieh. App. 1993). Acoor<iing to the Q_i_l;i:¢_l_;g oourt,
the term “mystezious disappearanee” means “unloaown, puzzliog, baffling, under circumstances
Which arouse wondeir, curiosity or speculation, or under circumstances oench are diMeult to
explain-” Under the facts in the instant ease, the investigation of MRC leaves no speculation to be

made lite shipment was §olen. 'l'his loss Was not “unexplained”, nor was it “mystez'ious”. Gil"ford

v. M. s A. Mui. ins cg,, 437 s.W.za 714, ns {Mo. Ci. App. 1969)
2. §agnland indusm'al v. Nat'l Union Fi@ lns, Co., 333 F. Supp. 2d 1133, l l42 (D. Kan.
can foolish no explanation Whatsoever" for its loss

2004). ’l`he lnsurers argue that Fa.rrriland "
' Farmland however, has suggested a reason for its'loss. Mr. Schucl< testified that his record review

 

 

 

 

 

 

 

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Ma'rch 3, 2009

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led him to conclude that Manchester, MEC or Anadarl<o took Farmland’s 500,000 MMBW of natural

gas. According to the court, th eff is not a mysteriou§ disapp, ea rance. Farmland need not prove

Who is responsible for the theft to overcome the Policy exclusion; it is the Insurer’s burden to prove
that the Policy exclusion is applicable See Van Dutcli Prods. Coro v. Zurich lns. Co., 67 A.D,Zd
844, 413 N.Y.S.Zd B, 9 (N.Y. App. 3979) (a loss is not unexplained or mysterious where there is
evidence of theft). Parmland has presented facts to suggest that something other than a mysterious
disappearance accounts for its lost natural gas, and summaiy'judgment on this exclusion is dierefore
inappropriate Baloel_i v. lewelers Mut. los. Co.. 167 F. Supp. 763, 770 (S, D. Fla. 1958) (insui'er
failed to establish that mysterious disappearance exclusion Was met in view of evidence tending to
show that the loss was caused by theR); Stella Jewel f . Inc. v. Navi a Bel amax 'l`hroo
Penem lm'l loc.,885 F. Stipp. 84, 85~86 (S.D.N.Y. 1995) {same); Bettv V. Livcroool & Loodon &
Globe lns. Co., 310 F.Zd 308, 310~1 l (4th Cir. 1962) {An ali risk policy exclusion for unexplained
losses or mysterious disappearanoes of property did not shift the burden of proving that loss fell
Within exclusion from the insurer to the insured); Spliere Drake lns. PLC v. Trisl~cc` 24 F. Supp. 2d
985, 997 {D. Minn. l993) ("PlaintiH`s have altered an explanation, supponed by circumstantial
evidence from several sources, which if believed b;`v the trier of fact could reasonably support an
inference of dieft. . . . Dei`endant has failed to show that this version of events is so illogical,
implausible or speculative as to Werraot mmnaijudg:nent for the insurer. . . . We conclude that
Sunn:oary Judgment is not wmaated, for either pazty, on the basis of the "unexplained loss" or
”mysterious dieappearance" exclusion.") '

 

 

 

 

3. Shoi'taize Uoon Takino loventorv: Centmy’s primaiy argument for Exclusion L’s
application is “Because the shortage Was discovered When the DPS officer compared the amount of
teqoila on the truck to the amount on the bill of lading, the shortage Was discovered upon the taking

of an inventory.”

4. CTSC Boston. lnc. v. Continental Insorance, 2001 U.S. App. Lexis 2?313. Tliis case
provides some understanding of the term “shortage upon taking iaventory" referred to in Exclosion
L. lo the §§ l S_C Boston case, a claim was made for missing computers where the exclusion in a
policy provided that ““we will not pay for loss of or damage to property that is missieg, but there is no
physical evidence to show what happened to lt, such as shortage disclosed on taking inventory.”
Under the facts of C lSC Boston, the plaintiff discovered the shortage of computers only when
attempting to determine how many more computers it needed for its business. lt was apparent from
the evidence that plaintiff s poor inventory control resulted in unaccounted for shortages of the
laptop computers. lite evidence indicated that plaintiffs had no idea when the computers were
allegedly srolen, over what period of time, or for that matter whether they were stolen at aii.
According to the court, this is precisely the scenario excluded by the policy, “Faiiure to account for

and secure one’s assets.”

5 . As pointed out'io cases, “inventory" means ‘[a] detailed itemized record of things in
one's view or possession, esp. a periodic survey of all goods and materials in stock.’ “ FM§aod

lndustrial, supra

 

 

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Page 4

Century’s argument that the police’s routine stopping and checking the cargo against the bill ~
of lading constitutes the type of “inventory” checks excluded by this policy bch the question of how
any discovery of theft could not be an “inventory” shortage Soch an interpretation is both strained,

onconscionable7 and not supported by law.

7. Nat'l Am. los Co. v. Colurnbia Packing Co., 2903 U.S. Dist. LEXIS 5696, 17-20 (N.D.
Tex. Apr. 7, 2003}, denied an insurance company summary judgment motion on the grounds that the
“Invcntory Limitation does not exclude coverage under the policy because there is sufficient physical
evi<:iencej other than "a shortage disclosed on taking inventory," to show what happened to the
missing property.” This analysis is similar to the analysis the courts take regarding “unexpleinecl
loss” and “mysterioos disappearance” as discussed earlier. The following excerpt from Nat’l Arn.
Ins. Co._, Bpr_a, is instructive '

“NAIC and CPC also seek summary judgment with respect to the inventory Lirnitation. 'l`his
policy provision excepts coverage for loss or damage to: Property that is missing Where the
only evidence of the loss or damage is a shortage disclosed on taking inventory, or other
instances where there is no physical evidence to show what happened to the property NAIC
argues that this limitation applies because the loss suffered by CPC can only be established
by inventory methods and documentation CPC counters that there is adequate physical '
evidence to show that the loss resulted from theft

Both parties rely on Betco Scafi`olds Co.` Inc. v. Houston United Casualtv Insnrance Co., 29
S.W.Jd 341 (Tex. App.-~Houston {141;13 Dist.} 2000, no pet) (en banc), to support their
respective arguments ha §etco, the insured filed a claim with its insurance company for
losses resulting from two burglaries Tbe insured promptly reported the burglaries to the
police, but did not tile an insurance claim until further shortages were discovered following

an annual inventory

The insurance company denied the claim based, in part, on a policy provision that excluded
coverage for "loss or shortage disclosed upon taking inventory[.}" lberea`t`ter, the insured
filed suit in state district court for breach of contract, breach of the duty of good faith and fair
dcaling, and violations of the Texas lnsurance Code. The trial court granted summary
judgment in favor of the insurance company as to all claims and causes of actionl A divided
court of appeals affirmed In reaching its decision, the majority first discussed the intent and
plain meaning of the inventory limitation 'We believe that the inventory exclusion provision
reflects a recognition of the inherent uncertainty as to the causes of shortages which are only
disclosed upon taking a periodic physical inventory We further believe that the inventory
exclusion provisicn(lil<:e a proof of loss provision) redeem a recognition that an insurer
should be afforded a fair opportunity to: (l) investigate the circumstances of a claim before
circumstances change and memories fadc, and (ii) wherc, as herc, a theft is alleged, attempt
recovery of the stolen items....” Signjficantly, the insured presented no evidence to the
insurance company or to the court establishing that the missing property was taken in the

, burglaries The only evidence vvas the results of its annual inventory Id. Based on these facts,
the appellate court held that the inventory limitation excluded coverage

 

 

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Page 5

'l`he dissent, relying on authorities from other jurisdictions found that lhe phx‘ase "disclosed
upon taking inventory" was ambiguous or, at the very least, raised a fact issue as to whether
the loss lo that case was disclosed, rather than quantified, by the inventory §§_t_c_o, 29 S.W.Zd
et 350 (Morphy, C.J., dissenting). '

Unlike gregg CPC does not rely solelyr on its inventory to establish its loss The summaiy
judgment evidence includes a judicial confession and the sworn testimony of William
Malioney admitting that he stole approximately 3200,000 worth of meat from CPC between
December l999 and May 2000. Moreover, NA_lC has acknowledged that CPC ”sustained
losses in excess of $ 200,000.00, as evidenced by its inventory procedures and that such
losses occurred as a result of thetl,“ The mere fact that this loss may have been quantified
through routine inventon procedures does not preclude coverage Even the Betoo majority
recognized that regularly scheduled inventory could coincide with the investigation of a
casualty in such a way that the inventory is intended by the insured as a meahs to quantify the
loss. le that event the inventory exclusion provision Would oct exclude the loss because the
loss would not have been disclosed upon taking inventory §gteg, 29 S.W.Bd at 34'§’
(emphasis in original).

 

The court concludes as a matter of law that the lnveotory limitation does not exclude
coverage under the policy because there is sufficient physical evidence other than “a shortage
disclosed on taking inventory," to show what happened to the missing property CPC’s
motion for summary judgment is granted and NAIC'$ motion for summon/judgment is
denied on this ground.” ' l

la summary, based on the facts of the MRC Repox't and applicable case law, Exclusion K
does not apply.

C. Exc]usion 3: Your assertion that Bxclusion J applies, i.e, dishonesty of the insured, is totally
Withont merit, unsupported by any facts, is less than genui,ne, and unconscionable Cornerstone, as a
broken never had physical possession of the freight 'l`liere is absolutely not one shred of evidence of
any dishonest act on the part of Comerstonc.

 

D. Excl;;sigg__l¥g:

, l . Your assertion that Exclusion M may apply stretches the boundaries of credulity and
common sense to understand how the exclusion could apply when the evidence is clear that ;h_e£ has
occurred lo this instance diem was nothing to “preserve”, A partial portion ofthe shipment was
stolen and was never recovered 'l"he remaining portion of the shipment was delivered to the
consignee without incident lt has been nearly one whole year since the date of loss and to the best
of our loiowledge, Century has not conducted its own investigation, but rather has relied solely on
the investigation conducted by MRC. When Comerstone asked for a copy of the MRC investigative
report, it was refused Only after insistence by Comerstooe over several months Was it finally
delivered lt is far less than genuine that you could ask for continued cooperation from Comerstone,
when your own actions are quite to the contrary.

 

 

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Century lnsurance

 

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Page 6

2. As you already koow, Comerstonc’s eustomer, Conrrecticut Distrlbutors, has been paid
for this loss, and Comerstone is out of;')ocl<et $l OD,OGO_ The oolicv was reoresented bv vour agent
to Comerstone to cover theft Comerstone was entitled to rely on the representations of your agent
and did reasonably rely on them As a direct result of their reasonable reliance, they have now
sustained damages of $l 00,000. Denial of coverage constitutes breach of contract, and possibly
fraud, in the lnception, as well as deceptive trade practices While your letter of denial focuses solely
on exclusions you oompletely neglect that the contract obligates your company to cover losses,
which in this instance arc described under Pars. A, B and D. `

Par_ A covers 100% interest of all shipments for physical loss to the property for which the
insured, Comerstone, has been held liable Cornerstone has been held liable by its eustomer,
and has paid The policy obligations for payment have been triggered

Under Par. B, the parties responsible for the loss, namely the motor carrier and/or Patron
Spln'ts, have provided no payment for nearly one year Tlms, there has been no settlement
within a reasonable period oftlme after presentation of the proof of loss.

Par. D applies because Comerstone has been held liable by Connectlcut Distrlbutors_ lt was a
contingent liability occasioned by fraud or deceit on the part of Patron Splrlts end/or Dolle
Motor Carriers;

ln sumnary, for the reasons stated above, demand for payment of $ 100,000 to reimburse
Comcrs_tone for its loss is made upon you. Fallure to receive paymem, or agreement to pay by
Mareh '13, 2009, appropriate legal action will be taken to protect their interests lf you wish to
discuss this please feel free to contact me.

Yours very truly,

  
  

Ronalcl H. Usem
RHUijd

cc: Jon Warcl, Comerstone Systems
"l`lm Clay, Comerstone Systems
Andy Long, Cornerstone Systems

 

 

- ` 08/09 Page 79 of 82 Page|D 82
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Page l of l

 

 

 

 

Main identify from Ron

From: “Jemes R. Ohifest" <JOhifest@ceniuwsureiy.com>
To: <ron@usems.com>
Sant: Wednesday,j\!!aroh 18, 2009 1:38 PM

Subj`ect: FW; 01~56678 Comerstone Sysfeme, inc.

 

From: lames R. Ohlf§t

Sent: Wednesday, March 18, 2&09 11:22 AM

To: ’ron@usemons.com’

Cc: Neii Singh

Subject: 01~56676 Comerstone Systems, Inc.

Mr. Usem,
Thank You for speaking with me Mondey, 31? 6109, relative to your letter of 3/3!09.

Again, l epoiogize for not responding eari?er bui, as l re§ated, l was out of the office on business
lest week and did not see the document prior to 3/16/09. .

1 have had an opportuniiy to d?scuss your ietter With house counse»‘. We have agreed that it
needs to be examined by outside coverage counse! to reflectors your points of dispute as to our
coverage destination Onoe We have been able to acquire an aneiyeis of ihe merits of the
insureds contentione, l WJH oommunicaie with you further, .

Unfortunately, 3 can not guarantee 1 wii} be ebie to be get back to you prior to any regu!etory.
timelines Apn'l 16, 2009 may represeni. if you find preparing a lawsuit against our company as
necessary, 3 wou¥d epprec§ete.your forward§ng a courtesy copy to me.

Sinoerely,
Jemes R. Oh!fest

Century S,urety Company/Pro€entury ins Co.
4722 N. 24th Street, Su§te 290

Phoeni><, Az. 85015

Phone: 602~216~6566 or 800»854~8045

x"~'ex; 602~37? -01 13
joh?fest@centuryeurety.com

 

 

 

 

No virus found in this incoming message

Chocl{;ed by AVG - www.avg.com
Version: 3.0.238 / `Virus Database: 270.1 2. 3 8/2009 ~ Re§ease Date: 03/18/09 07:1'7:00

 

3/18/2009

 

 

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7`./ ' "" l ~»-t 140 ADAMS AW;NUE MEMPHIS, TENNESSEE 38103 f _
mm 9 - 20{].1‘ Fon THE TH;RTIETH JUDICIAL DISTRICT A'r MEMPH_IS

summons IN CIVIL ACTION § k
No. no DAM~IUM ft
Comcrstonc Systems, lnc,

  
 
   
  

 
  

 

 

 

 

 

 

 

 

 

 

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VS‘ PLAINTIFF HtUEl\/E lt __ v ~
Ccntury Surcty Company Mj a m @\l/
Home Addrcss
SCANNING DEP`B'€>$ meyeth At/enue, Wegt@rvme, on 43032
DEFENDANT Busincss Addi'css

TO ';‘HE DEFENDANT(S);Ccntury Surety Comqaany, through its registered agont, Nicholas Z. Alexondcr, 465 Clevelaod
Avcnue, Westcrville, Ohio 43082. Servc through Secrctaz'y of State

 

You arc hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on Mal'k S‘ NOmS and Tficia T' Ol'°`*m Plaintii`t‘s

80 Monroc Ave., Ste ?00, Memphls, TN 38103 901-525-3234 Wimin

 

attomcy, Whose address is , telephone

THlRTY (30 ) DAYS after this summons has been served upon you, not including the day ol` ;=,cr\/icol If you fail to do so, a

judgment by default may be taken against you for the relief demanded in the Complaint.
Jll\/UVIY MOORE, Clcrk

KENNY ARMSTRONG, Clork & Master

 

 

TESTED AND ISSUED 20 By D`C.
'l`O 'l`HE DEFENDANT(S):
NO'l."ICE: Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following noticc: on

Tcnnessee law provides a four thousand dollar (34,000) personal property exemption from execution or seizure to satisfy a judgment. if
a judgment should be entered against you in this action and you Wish to claim property as excmpt, you must file a written list, under oath,
of the items you wish to claim as exempt With thc Clcrl: ofthe Court. lite list may be filed at any time and may be changed by you
thereafter as necessary; however, unless it is filed before thc judgment becomes tinal, it will not be effective as to any execution or
garnishment issued prior to thc filing of the list. Ccrtoin items arc automatically exempt by law and do not need to be listed These
include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to contain
such apparel, family portraits, the family Bible and school hooksl Sliould any of these items be scizcd, you would have thought to
recover them If you do not understand your exemption right or how to exercise it, you may wish to seek thc counsel of a lawyer. q

COST BOND

l hereby acknowledge and bind myself for the prosecution of this action and payment of all costs not to exceed $5(}0.00 m
this court which may at anytime be adjudged against the plaintiff in the event said plaintiff shall not pay the same

 

 

 

Witncss My Hand this day of ,20
Ccrtii`ication thn applicable t
Surcty
l, KE,NN`Y ARMSTRGNG, Clcrlc & Master I, JIMMY MOORE, Clcrl< ofthc Circuit
of thc Chanccry Court, Shclby County, Court, Shclby County, 'i`ermcssee, certify
Tcnnessce, certify this to be a true and this to be a true and accurate copy as filed
accurate copy as filed this this
' KENNY ARNISTRONG, Clet"l< & Master _ll-MMY MOORE, Clcrl<

By3 . D.C. By: , D.C.

Front

 

 

 

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~_ s__ ». l RETURN oN ssnvice on summons
_,;_, v ~___, .‘?§»

IHEREBY CERTIFY THAT l HAVE SERVED THE WI'I`HIN SUMMONS:
By delivering on the day of , 20 at l'\/l1

a copy of the summons and a copy of the Cornplaint to the following defendents

 

l\/larl< Lottrell, Sherit`f`

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

By
Dcputy S‘neriff
PRWATE PROCESS SERVER
IHEREBY CERTIFY THATI HAVE SERVED THE WITHIN SUMMONS:
By delivering on the day of , 20 at M. a copy of the
summons and a copy of the Cornplaint to the following defendants
(PLEASE PRINT THE FOLLOWING)
Priyate Proeess Scrver Addres$
Phone
Com an
p y Signature
Other manner of service:
l hereby certify that l have NGT served this Summons on the within named defendant(s)
because is f are not to be found in this County for the

following reasoh(s):

 

 

Mark Luttrell, Sherit”t`

 

 

 

 

 

 

This dayoi` .20 By
Deputy Sherifi`
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ADAMS AND REESE m §§§;’;”:S';?“““'
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Jax:kson
Memphis
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Nashvi!|e

New Orieans
Washington, DC

Apl`i§ 6, 2009 Tr§cia T. Dls=on
Direct (901> 524-528¢
E-Fax (901) 524'5384
tricia.olson@arjaw,com

VIA CERTIFIED MAIL
RETURN RECEIPT REO UE_'_STED

Nichoias Z. Alexander
Cent'ury Surety Company

465 Cleveland Avenue
Westerville, OH 43082

Re: Cornerstane Syste.ms, Inc. v. Cezztmj) Surety Company
Dear Mr. Alexander:

Enclosed herein please find a copy ofthe Summons and Complaint that were filed
in regards to the above»referenced matter.

If you have any questions, piease feel free to contact me.

Sincerely,

szm Jé?é@

Tricia T. Olson

'l`TO/Imc
Enclosures

Brink|ey Piaza » 80 Monroe Avenue, Suite 700 ~ Nlemphis, Tennessee 38103 » (901) 525,3234 - Fax (961) 524.5419 » W.adamsandreese.com

 

